Case 18-03034         Doc 271     Filed 03/31/22      Entered 03/31/22 16:16:42           Page 1 of 53




                           UNITED STATES BANKRUPTCY COURT
                               DISTRICT OF CONNECTICUT
                                  NEW HAVEN DIVISION

In re:                                          :        Case No.: 18-31552 (AMN)
      MICHAEL P. DILWORTH,                      :        Chapter 7
                  Debtor                        :
                                                :
                                                :
          THE MCFEELY LIMITED                   :
          PARTNERSHIP,                          :        Adv. Pro. No. 18-03034 (AMN)
                     Plaintiff                  :
v.                                              :
          MICHAEL P. DILWORTH,                  :
                      Defendant                 :
                                                :        Re: AP-ECF No. 95

                  MEMORANDUM OF DECISION AND ORDER AFTER TRIAL
                                            Appearances

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     I.    INTRODUCTION

           The plaintiff and creditor here – the McFeely Limited Partnership (the “Partnership”

or “plaintiff”) – asks the court to declare non-dischargeable a claim of more than

$6,000,000 described in a 2015 promissory note from Michael P. Dilworth (the “Debtor”)

to the Partnership pursuant to 11 U.S.C. §§ 523(a)(4) and 523(a)(6). 1 The underlying




1      Title 11, United States Code, is the “Bankruptcy Code.” References to statutory sections are to the
Bankruptcy Code unless otherwise specified.

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Case 18-03034         Doc 271     Filed 03/31/22      Entered 03/31/22 16:16:42           Page 2 of 53




obligation represented by the note arose over a period of years, from 2003 through 2011.

AP-ECF No. 1. 2

           To prevail, the plaintiff must establish by a preponderance of the evidence that the

debt arose from “fraud or defalcation while acting in a fiduciary capacity, embezzlement

or larceny,” or from a “willful” and “malicious” act causing injury to the plaintiff or its

property. 11 U.S.C. §§ 523(a)(4) and 523(a)(6).

     II.   JURISDICTION

           The United States District Court for the District of Connecticut has jurisdiction over

this adversary proceeding by virtue of 28 U.S.C. § 1334(b). This court derives its authority

to hear and determine this matter on reference from the District Court pursuant to 28

U.S.C. §§ 157(a), (b)(1), and the District Court’s General Order of Reference dated

September 21, 1984. This is a “core proceeding” pursuant to 28 U.S.C. §§ 157(b)(2)(A)

and (I). This memorandum constitutes the court’s findings of fact and conclusions of law

pursuant to Rule 52(a) of the Federal Rules of Civil Procedure, applicable here pursuant

to Rule 7052 of the Federal Rules of Bankruptcy Procedure.

    III.   PROCEDURAL HISTORY

           This adversary proceeding arises out of the Debtor’s voluntary Chapter 7 case

commenced on September 19, 2018 (the “Petition Date”). ECF No. 1. In Schedule E/F:

Creditors Who Have Unsecured Claims (Official Form 106), the Debtor listed the

Partnership as a creditor holding an undisputed, unsecured claim for $5,893,588.35. ECF

No. 1, p. 21. The Partnership’s proof of claim (“POC 1-1”) asserted a higher amount –

$6,038,638 – and included a copy of a promissory note signed by the Debtor, dated


2       Citations to the docket in case no. 18-31552 are noted by “ECF No. __” Citations to the docket of
this adversary proceeding, case number 18-3034, are noted as “AP-ECF No. ___”.

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Case 18-03034        Doc 271      Filed 03/31/22      Entered 03/31/22 16:16:42          Page 3 of 53




January 16, 2015, along with a payment history (the “Note”). POC 1-1. The payment

history reflected pre-petition payments totaling $504,397 and accrued interest of

$649,447. POC 1-1.

        Two months after the Petition Date, on December 24, 2018, the Office of the United

States Trustee (“UST”) filed a motion seeking to dismiss the Debtor’s Chapter 7 case as

abusive pursuant to §§ 707(b)(1) and (b)(3). ECF No. 25. The UST’s motion largely turns

on whether the Partnership’s debt is a consumer or non-consumer debt. Dismissal under

§ 707(b)(1) is not available if the debt is a non-consumer debt. See, 11 U.S.C. §

707(b)(1), ECF No. 25, p. 4, ¶ 9. The UST’s motion is stayed at its request until this

adversary proceeding is resolved. See, ECF No. 45.

        The Partnership commenced this adversary proceeding by filing a two-count

complaint seeking a determination that a debt owed to it by the Debtor was non-

dischargeable pursuant to §§ 523(a)(4) or 523(a)(6). AP-ECF No. 1. Almost one year

after filing its original complaint, on November 7, 2019, the Partnership amended its

complaint adding more factual support to its allegations, but not altering the statutory relief

sought pursuant to §§ 523(a)(4) or 523(a)(6) (the “Complaint”). AP-ECF No. 95. The

Debtor denied all substantive allegations. AP-ECF No. 111.

        Trial was to start in early 2020, but plaintiff’s counsel withdrew for reasons

unrelated to this case and then the COVID-19 pandemic arrived. AP-ECF Nos. 124, 125,

151, 159. Eventually the trial was rescheduled for September 2020, and held using the

ZoomGov video conference platform. AP-ECF Nos. 176, 194, 198, 205, 231. 3 Trial


3        The court established procedures to conduct a remote trial consistent with the Federal Rules of
Civil Procedure, Federal Rules of Bankruptcy Procedure, and the Judicial Conference of the United States’
authorization of March 31, 2020, allowing civil proceedings by teleconferencing. AP-ECF No. 231; see
also, https://www.uscourts.gov/news/2020/03/31/judiciary-authorizes-videoaudio-access-during-covid-19-

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Case 18-03034         Doc 271      Filed 03/31/22       Entered 03/31/22 16:16:42            Page 4 of 53




commenced on September 21, 2020, and continued on September 22, 23, and 30, 2020.

AP-ECF Nos. 234, 235, 237, 238, 242. 4 Five witnesses testified including: the Debtor;

Helen McFeely; one of the Partnership’s accountants, Kevin Sunkel; an attorney retained

by the Partnership, Scott Jacobs, Esq.; and a financial advisor retained by the Partnership

and expert witness, Richard Esposito.

        Following trial, the parties submitted post-trial memoranda of law and reply briefs.

AP-ECF Nos. 264, 265, 267, 268. The Partnership argues its debt should be deemed

non-dischargeable under all prongs of §§ 523(a)(4) and 523(a)(6) because the Debtor

engaged in a multi-year scheme using Partnership funds as his own personal piggy bank.

AP-ECF No. 264.           The Partnership also claims the Debtor’s conduct amounted to

intentional and malicious behavior and the court should discount his testimony as self-

serving. AP-ECF No. 264. In particular, the Partnership highlights the Debtor’s failure to

document his intention to repay any of the funds withdrawn from the Partnership, failure

to create any Partnership meeting minutes or resolutions, and failure to secure any liens

or property in the Partnership’s name as collateral for the alleged loans. AP-ECF No.

264. The Debtor argues any fraud claims were barred by statutes of limitations, that he

never had an intent to deceive or cause harm, always intended to repay the Partnership,

and only withdrew money to benefit his family, a purpose he believed fell within the

Partnership’s stated goals. AP-ECF No. 265. Final post-trial oral argument was held on

February 21, 2021. AP-ECF No. 269.




pandemic. Additionally, at the defendant’s request, third-party witnesses were sequestered for purposes
of trial and were unable to access the trial or remotely participate by audio or video means during any other
witness’s testimony. AP-ECF No. 231.
4         The transcripts are docketed as AP-ECF Nos. 249 to 252.

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Case 18-03034       Doc 271     Filed 03/31/22      Entered 03/31/22 16:16:42          Page 5 of 53




IV.    FINDINGS OF FACT

       In accordance with Fed.R.Civ.P. 52 and Fed.R.Bankr.P. 7052, after consideration

and analysis of the trial testimony, the documents admitted into evidence, and

examination of the official record of the Chapter 7 case and the instant adversary

proceeding, I find the following facts.

                                    The Debtor and Helen

       The Debtor is an attorney specializing in the area of intellectual property and

admitted to practice before the United States Patent and Trademark Office and in the

states of Connecticut and New York. 5 Following his graduation from Albany Law School

in 1992, the Debtor worked for a couple of years with his father’s law firm; then for about

two years with a Connecticut law firm, Cummings and Lockwood, and then, with his

father’s firm again until 2001. 6 In 2001, the Debtor became senior patent counsel at the

Crompton Corporation. 7 The Crompton Corporation subsequently became known as

Chemtura, a company specializing in specialty chemicals. 8                The Debtor worked at

Chemtura until 2007 when he left to start his own business. 9 At some point after 2007,

the Debtor started his own firm, Dilworth IP, LLC. 10 The Debtor is currently with this firm.

       Following the Debtor’s law school graduation, he and Helen McFeely (“Helen”)

married in June of 1993. 11 During their marriage, Helen was a homemaker and did not




5      AP-ECF No. 249, p. 26, L. 15-24; AP-ECF No. 251, p. 98, L. 14-18; AP-ECF No. 252, p. 93, L. 5-
7.
6     AP-ECF No. 251, p. 99, L. 5-20.
7     AP-ECF No. 251, p. 99, L. 18-25, p. 100, L. 17-18.
8     AP-ECF No. 251, p. 100, L. 1-16.
9     AP-ECF No. 251, p. 101, L. 1-9
10    AP-ECF No. 249, p. 27, L. 1.
11    AP-ECF No. 95, ¶ 5; AP-ECF No. 111, ¶ 5; AP-ECF No. 250, p. 62, L. 13-15, p. 132, L. 2-5; AP-
ECF No. 251, p. 97, L. 16-20.

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Case 18-03034       Doc 271      Filed 03/31/22     Entered 03/31/22 16:16:42          Page 6 of 53




earn income outside the home. 12 In 1996, Helen and the Debtor purchased a home

located at 35 Blue Spruce Circle, Weston, Connecticut for $290,000 (the “Blue Spruce

property”). 13 At some point in 2001, Helen and the Debtor sold the Blue Spruce property

and purchased a home located at 10 Fox Run, Easton, Connecticut (the “Fox Run

property”) for $879,000. 14

                               The Partnership and the Trusts

        About five years after the marriage, on June 19, 1998, the Debtor became a

general partner of The McFeely Limited Partnership (the “Partnership”) holding a 0.045%

membership interest. He was 31 years old. 15 The Partnership was created under the

Delaware Revised Uniform Limited Partnership Act and registered in Delaware. 16 In

addition to the Debtor, the Partnership had two other general partners:

        1) Helen, also holding a 0.045% membership interest; and

        2) the McFeely Multigenerational Trust (the “Multigenerational Trust”) holding a
           0.91% membership interest. 17

Helen’s parents – Mary R. McFeely and James F. McFeely – created the

Multigenerational Trust as an irrevocable trust for the benefit of their grandchildren and

named the Debtor and Helen as co-trustees. 18 The Debtor and Helen each made an

initial capital contribution of $5,000 and the Multigenerational Trust initially contributed

$100,000 into the Partnership.



12      AP-ECF No. 251, p. 101, L. 13-17, p. 102, L. 10-13.
13      AP-ECF No. 250, p. 109, L. 8-15; AP-ECF No. 251, p. 115, L. 16-25; AP-ECF No. 252, p. 88, L.
9-13.
14    AP-ECF No. 250, p. 109, L. 16-20, p. 110, L. 4-11.
15    AP-ECF No. 251, p. 104, L. 10-12.
16    AP-ECF No. 249, p. 27, L. 8-11; AP-ECF No. 250, p. 60, L. 18-20; AP-ECF No. 214-2.
17    AP-ECF No. 214-2; AP-ECF No. 251, p. 104, L. 18-22.
18    AP-ECF No. 249, p. 38, L. 8-15; AP-ECF No. 214-3, § 1.23. AP-ECF No. 251, p. 105, L. 12-14;
AP-ECF No. 252, p. 74, L. 20-24.

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Case 18-03034       Doc 271      Filed 03/31/22     Entered 03/31/22 16:16:42          Page 7 of 53




        The Partnership also included two limited partners:

        1) the Mary R. McFeely Revocable Trust, holding a 49.5% membership
           interest; and,

        2) the James F. McFeely Revocable Trust, holding a 49.5% membership
           interest (combined with the Mary R. McFeely Revocable Trusts, the
           “Revocable Trusts”). 19

Helen’s parents created the Revocable Trusts for the benefit of Helen, her two sisters –

Mary McFeely and Madeline McFeely – and their grandchildren. They named the Debtor

and Helen as co-trustees. 20 See, AP-ECF No. 250, p. 61, L. 8-9 (Helen’s testimony

regarding her sisters). The main corpus of the Partnership funds came from the initial

contributions of $5,445,000 by each of the Revocable Trusts. 21 The Partnership held

assets totaling approximately $11 million at inception.

        Helen testified there were three main reasons for establishing the Partnership,

including: 1) to obtain beneficial estate tax relief; 2) to pass on funds to future generations;

and 3) to have a methodical and structured way to manage the inheritance within her

family. 22   The Partnership’s stated business purpose was to own and manage

investments, perform related acts, and do all things not otherwise illegal under the laws

of Delaware. 23 The Partnership Agreement included a non-exhaustive list of permissible

business activities, including, in relevant part: to engage the issue of Helen’s parents in

management of the family assets; to establish an investment policy related to certain

properties of the family which would be focused on growth as measured by total return;




19      AP-ECF No. 214-3, §§ 1.24, 1.25.
20      AP-ECF No. 249, p. 39, L. 6-10; AP-ECF No. 250, p. 25, L. 11-20; AP-ECF No. 251, p. 105, L.
19-20; AP-ECF No. 252, p. 31, L. 9-14; AP-ECF No. 214-3, §§ 1.24, 1.25.
21      AP-ECF No. 249, p. 37, L. 14-17, p. 38, L. 21-25, p. 39, L. 1-2; AP-ECF No. 214-3.
22      AP-ECF No. 250, p. 61, L. 3-9.
23      AP-ECF No. 214-2.

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Case 18-03034      Doc 271      Filed 03/31/22     Entered 03/31/22 16:16:42         Page 8 of 53




to manage investments in any other business without regard to the form in which the

business was organized; to acquire general partnership interests or limited partnership

interests in other partnerships and limited partnerships; and to engage generally in the

real estate business. 24

       Partnership management had the authority to do or cause to be done a variety of

tasks, including, in relevant part:

           •   buy, lease, or otherwise acquire real or personal property to carry on
               and conduct the Partnership’s business;
           •   enter into any agreement for sharing of profits and joint venture with any
               person;
           •   manage, administer, conserve, improve, develop, operate, lease, utilize,
               and defend the Partnership assets;
           •   quitclaim, release or abandon any Partnership interests with or without
               consideration; and
           •   make loans to Partners. 25

       The Debtor believed this last power – to make loans to Partners – found in § 8.1

of the Partnership Agreement authorized him to make loans to himself. 26 The Debtor

asserted the Partnership made frequent distributions annually, if not monthly, of hundreds

of thousands of dollars to its general or limited partners depending on the year and

circumstances. 27 When the Partnership made distributions – as compared to loans – to

its partners, the funds were not required or intended to be repaid. The only Partnership

tax returns in the record reflect distributions of $31 in 2006 and $300,075 in 2007. 28

       From the Partnership’s inception in 1998 until February 2012, the Debtor was the

Partnership’s managing general partner. 29 The Debtor had never been a partner in a


24     AP-ECF No. 214-3, § 4.
25     AP-ECF No. 214-3, § 8.1.
26     AP-ECF No. 249, p. 75, L. 19-25, p. 58, L. 1-8, p. 111, L. 13-15.
27     AP-ECF No. 249, p. 156, L. 12-22.
28     AP-ECF No. 249, p. 180, L. 1-21; AP-ECF No. 215-29, p.4; AP-ECF No. 215-30, p. 5.
29     AP-ECF No. 251, p. 106, L. 5-7.

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Case 18-03034         Doc 271      Filed 03/31/22       Entered 03/31/22 16:16:42            Page 9 of 53




partnership and had no expertise in investing money, but he was willing to assume the

managing partner role because Helen’s time was occupied caring for their family. 30 Helen

explained that she and the Debtor had a “tacit understanding” about the division of labor

in their marriage: she would care for the house and family’s physical needs and the Debtor

would take care of the family’s finances and the Partnership’s affairs. 31                          As the

Partnership’s manager, the Debtor was entitled to a management fee of $8,000 a month

or $96,000 a year (the “Management Fee”). 32

        The Debtor retained Owen J. Flanagan and Company, as the Partnership’s

accountants (the “Accountants”) to assist him with the Partnership finances. 33                         The

Accountants also performed services personally for the Debtor and Helen including

personal tax preparation services. 34

        Helen chose not to be involved in the Partnership’s finances, never spoke with the

Accountants, left the Debtor to be the Accountant’s primary contact, and did not make

decisions regarding the Partnership until 2012. 35

        The 2006 and 2007 Partnership Form 1065 federal tax returns were prepared by

the Accountants. 36 The 2006 Partnership tax return states trade notes and accounts

receivable started the year at $1,840,000 and ended the year at $1,912,000. 37 The 2007




30       AP-ECF No. 251, p. 106, L. 8-18, p. 107, L. 6-7.
31       AP-ECF No. 250, p. 64, L. 8-22.
32       AP-ECF No. 249, p. 80, L. 13-21; AP-ECF No. 252, p. 49, L. 3-8.
33       AP-ECF No. 249, p. 130, L. 22-23, p. 131, L. 7-10.
34       AP-ECF No. 249, p. 131, L. 11-15; AP-ECF No. 252, p. 40, L. 15-22.
35       AP-ECF No. 249, p. 41, L. 18-24, p. 117, L. 2-4, 23-25, p. 118, L. 1, 6-11,p. 146, L. 18-25, p. 147,
L. 1-10, p. 148, L. 11-15; AP-ECF No. 250, p. 70, L. 15-19.
36       AP-ECF No. 249, p. 148, L. 4-10.
37       AP-ECF No. 215-29, p.4.

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Case 18-03034       Doc 271      Filed 03/31/22      Entered 03/31/22 16:16:42          Page 10 of 53




Partnership tax return states trade notes and accounts receivable started the year at

$1,912,000 and ended the year at $4,517,200. 38

        During the period from 1998 to 2012, Helen was not involved in the Partnership’s

finances. The Debtor never provided Helen with any written or oral reports regarding the

Partnership’s finances and despite being presented annually with the Partnership’s tax

returns, Helen never reviewed them before signing. 39 And, while the Debtor maintained

a check register for a Partnership checking account, Helen never wrote any of the

checks. 40

                              Purchase of Abbey Road Property

        In 2004, after living in the Fox Run property for approximately four years, the

Debtor and Helen started considering the purchase of a home located at 45 Abbey Road,

Easton, Connecticut (the “Abbey Road property”). 41 While the Debtor was interested in

obtaining a larger home, Helen was reluctant because moving with kids could be a

burden, but she changed her mind upon discovering the Abbey Road property. 42 In 2004,

the Debtor and Helen had six children. 43 Eventually, the Debtor and Helen would have a

total of eight children, with their youngest child arriving in 2008. 44 Several of their children

faced special challenges and health issues including medical, behavioral, and learning

disabilities. 45




38      AP-ECF No. 215-30, p. 5.
39      AP-ECF No. 250, p. 65, L. 22-25, p. 66, L. 1-8.
40      AP-ECF No. 214-6; AP-ECF No. 249, p. 63, L. 11-23; AP-ECF No. 250, p. 71, L. 2-8.
41      AP-ECF No. 249, p. 13, L. 1-3, p. 84, L. 17-25; AP-ECF No. 250, p. 99, L. 10-12; AP-ECF No. 251,
p. 111, L. 1-5, p. 112, L. 9-11.
42      AP-ECF No. 250, p. 68, L. 21-25, p. 69, L. 1-7, p. 77, L. 17-25.
43      AP-ECF No. 252, p. 78, L. 13-15.
44      AP-ECF No. 251, p. 103, L. 12-17, p. 104, L. 5; AP-ECF No. 252, p. 78, L. 16-18.
45      AP-ECF No. 250, p. 65, L. 8-21; AP-ECF No. 252, p. 7, L. 24-25, p. 8, L. 1, 9-14.

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Case 18-03034        Doc 271      Filed 03/31/22      Entered 03/31/22 16:16:42            Page 11 of 53




        The purchase price for the Abbey Road property was $1,675,000. 46 The Debtor

believed this price was reasonable and the property would appreciate in value. 47 The

Debtor based his belief that the Abbey Road property would appreciate on his previous

experience selling two properties for more than he paid to buy them, including property

on Long Island, New York, and the Blue Spruce property. 48 The Debtor could not recall

to what extent the proceeds from the Long Island property exceeded the original purchase

price, only that both the Long Island and the Blue Spruce properties sold for more than

he had paid to buy them. 49

        During this time, the Debtor was working at Chemtura earning a salary of

approximately $200,000 a year, plus earning the $96,000 per year Management Fee. 50

The Debtor knew his large family’s ordinary living expenses consumed all his income and

that he did not have sufficient resources to service any debt incurred to purchase the

Abbey Road property. 51 Additionally, the Debtor believed the burden of moving with

children would be eased if they were not required to sell the Fox Run property first. 52 The

Debtor proposed to Helen they borrow Partnership funds as a short-term bridge loan and

repay the Partnership after the Fox Run property sold. 53

        In October of 2004, the Debtor and Helen withdrew approximately $1,800,000 from

the Partnership to purchase the Abbey Road property (the “House Money”). 54                            On



46    AP-ECF No. 251, p. 118, L. 22-23; AP-ECF No. 252, p. 6, L. 10-12.
47    AP-ECF No. 252, p. 75, L. 6-8, p. 78, L. 23-25.
48    AP-ECF No. 252, p. 88, L. 1-6, 9-13; AP-ECF No. 251, p. 115, L. 16-25.
49    AP-ECF No. 251, p. 115, L. 22-25, p. 116, L. 13-18.
50    AP-ECF No. 252, p. 6, L. 16-21.
51    AP-ECF No. 252, p. 6, L. 13-15, 22-25, p. 7, L. 1-3.
52    AP-ECF No. 250, p. 102, L. 1-17, p. 103, L. 1-21.
53    AP-ECF No. 250, p. 67, L. 19-25, p. 68, L. 1-4, p. 78, L. 19-22; AP-ECF No. 251, p. 113, L. 1-5.
54    AP-ECF No. 249, p. 13, L. 10-22, p. 14, L. 1-25, p. 15, L. 1-6, p. 86, L. 5-7, p. 90, L. 16-18; AP-
ECF No. 251, p. 118, L. 1-4; AP-ECF No. 252, p. 3, L. 18-25, p. 4, L. 1-2, p. 117, L. 11-16.

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Case 18-03034     Doc 271      Filed 03/31/22      Entered 03/31/22 16:16:42          Page 12 of 53




November 15, 2004, the Debtor and Helen purchased the Abbey Road property for

$1,675,000 using the House Money. 55 Title to the Abbey Road property was held by the

Debtor and Helen, and not the Partnership. 56

      Neither the Debtor nor Helen executed any document or promissory note

evidencing an intent to repay the House Money to the Partnership. 57 The Debtor testified

he and Helen intended to pay interest on the House Money, but no terms were established

for the alleged loan. There was no document identifying an interest rate, a term or

maturity date, or any installment payment amount. 58 The Debtor testified he intended to

pay the funds back either when they sold the Abbey Road property or when the

Partnership wound up its affairs. 59 Additionally, the Debtor stated he hoped to give the

Partnership the benefit of any appreciation of the property over and above the purchase

price amount. 60 This vague intention was never documented other than the Partnership

tax returns reflecting an accounts receivable due to the Partnership. 61 At another point

in the Debtor’s testimony, he stated he planned to repay the House Money from cash flow

generated by a car wash business. 62 But, the first of two car wash businesses was not

purchased until two years after the Abbey Road property purchase.                     The Debtor’s

testimony that when he (and Helen) withdrew the House Money he already intended to

purchase a car wash business and use its cash flow or profits to repay the House Money

to the Partnership was not credible given the entirety of the evidence. This credibility



55    AP-ECF No. 249, p. 16, L. 10-15; AP-ECF No. 252, p. 6, L. 10-12, p. 80, L. 12-14.
56    AP-ECF No. 249, p. 47, L. 20-24, p. 51, L. 22-25, p. 99, L. 19-20.
57    AP-ECF No. 249, p. 59, L. 11-14, p. 113, L. 20-24; AP-ECF No. 252, p. 4, L. 3-6.
58    AP-ECF No. 252, p. 4, L. 18-25, p. 84, L. 17-25.
59    AP-ECF No. 252, p. 4, L. 18-25.
60    AP-ECF No. 249, p. 123, L. 13-19.
61    AP-ECF No. 249, p. 123, L. 13-19; AP-ECF No. 252, p. 107, L. 3-6.
62    AP-ECF No. 252, p. 80, L. 7-11, 15-21.

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Case 18-03034       Doc 271       Filed 03/31/22      Entered 03/31/22 16:16:42           Page 13 of 53




determination, however, does not negate a finding the Debtor intended the House Money

withdrawal to be a loan to be repaid.

                                     Sale of Fox Run Property

        About four months after the Abbey Road property purchase, on March 21, 2005,

the Debtor and Helen sold the Fox Run property for $959,700. 63 The Debtor testified he

“made money” of approximately $80,000 from the sale of Fox Run. 64                          The Debtor

deposited the Fox Run property sale proceeds into a personal bank account and did not

pay any of the funds to the Partnership. 65 Helen testified that until 2012 she was unaware

the Fox Run property sale proceeds had not been paid to the Partnership. 66

                                   The Car Wash Businesses
                                 Bridgeport Car Wash Purchase

        In mid-2006, the Debtor started seriously considering the purchase of a car wash

business, although he had no experience in the car wash industry. 67 The Debtor testified

he hoped purchasing a car wash would enable him to repay the House Money to the

Partnership, generate more income for his family, provide a place for his children to work

in the future, and allow him to spend more time with his family. 68 As due diligence, the

Debtor spent approximately six months researching car washes online, contacting

brokers, reviewing financial information packages from brokers, and purchasing an e-




63      AP-ECF No. 249, p. 15, L. 7-11, p. 85, L. 21-25, p. 86, L. 11-15.
64      AP-ECF No. 251, p. 114, L. 25, p. 115, L. 1, p. 116, L. 3-8; AP-ECF No. 252, p. 87, L. 23-25, p.
117, L. 23-25.
65      AP-ECF No. 249, p. 86, L. 16-20, L. 24-25, p. 87, L. 1.
66      AP-ECF No. 250, p. 80, L. 23-25, p. 81, L. 2-6, p. 84, L. 11-15.
67      AP-ECF No. 250, p. 76, L. 8-14
68      AP-ECF No. 252, p. 7, L. 7-15, p. 11, L. 18-20, p. 74, L. 9-10, p. 108, L. 8-10.

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Case 18-03034       Doc 271      Filed 03/31/22      Entered 03/31/22 16:16:42          Page 14 of 53




book about car washes. 69 The Debtor also sat outside existing car washes counting cars

to determine the number of cars a car wash business could wash within a given period. 70

        At some point at the end of 2006, the Debtor located a car wash to purchase in

Bridgeport, Connecticut (“Bridgeport car wash”). 71 The Bridgeport car wash was located

on Main Street in Bridgeport, Connecticut. The proposed purchase was for the business,

building, and equipment, but not the real estate and the Debtor was obligated to pay rent

to the real estate owner. 72

        The Bridgeport car wash’s records indicated its net income was approximately

$1,000,000 per year and that it had been recently refurbished with new state of the art

technology and equipment. 73 In January of 2007, the Debtor created a limited liability

company named Domaurea, LLC (“Domaurea”). 74 Helen and the Debtor held equal

membership interests in Domaurea. 75               The Partnership was not a member of

Domaurea. 76

        In January of 2007, the Debtor purchased the Bridgeport car wash in the name of

Domaurea for an amount somewhere between $2,000,000 and $2,500,000. 77 The Debtor

was unable to be more precise as to the purchase price. 78 The funds for the purchase

came from three sources, including: 1) the Fox Run property sale proceeds; 2) a



69       AP-ECF No. 252, p. 11, L. 4-8, p. 13, L. 13-19, p. 14, L. 19-20. Merriam-Webster defines an “e-
book” as “a book composed in or converted to digital format for display on a computer screen or handheld
device.” Merriam-Webster. © 2022 Merriam-Webster, Incorporated. Available online at
https://www.merriam-webster.com/dictionary/e-book.
70       AP-ECF No. 252, p. 15, L. 4-19.
71       AP-ECF No. 252, p. 11, L. 11-13
72       AP-ECF No. 252, p. 18, L. 15-17, p. 115, L. 5-12.
73       AP-ECF No. 252, p. 19, L. 2-12, p. 20, L. 22-24, p. 21, L. 10-14.
74       AP-ECF No. 252, p. 21, L. 18-20.
75       AP-ECF No. 252, p. 21, L. 25, p. 22, L. 1-3.
76       AP-ECF No. 252, p. 84, L. 3-6.
77       AP-ECF No. 252, p. 11, L. 11-13; p. 21, L. 15-20.
78       AP-ECF No. 252, p. 28, L. 3-13.

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Case 18-03034      Doc 271        Filed 03/31/22    Entered 03/31/22 16:16:42         Page 15 of 53




$1,000,000 loan secured by a mortgage on the Abbey Road property; and 3) seller

financing in an amount between $500,000 to $1,000,000. 79 At some point prior to the

Bridgeport car wash purchase, the Debtor and Helen granted a mortgage of $1,000,000

on the Abbey Road property, but the Debtor could not recall the name of the bank that

provided the funds. 80      All of these mortgage proceeds were used to purchase the

Bridgeport car wash. 81 About this time in 2007, the Debtor left his position at Chemtura

to focus on the car wash.    82


                                  Stratford Car Wash Purchase

       A few months later, in the late spring and early summer of 2007, the Debtor

considered purchasing a second car wash located in Stratford, Connecticut (the “Stratford

car wash”). 83 The Stratford car wash was close to the Bridgeport car wash and the Debtor

believed by purchasing the second location he could spread out expenses and gain more

market share. 84 The Debtor engaged in a similar due diligence process as he did for the

Bridgeport car wash when considering the Stratford car wash purchase, discovering that

the Stratford car wash had a net income of over $500,000 a year. 85 Prior to purchasing

the Stratford car wash, the Debtor and Helen discussed – for approximately fifteen

minutes while in their kitchen – borrowing money from Partnership to finance the

purchase, and, while initially reluctant, Helen agreed. 86




79    AP-ECF No. 252, p. 23, L. 12-20.
80    AP-ECF No. 252, p. 113, L. 7-16, p. 114. L. 1-2.
81    AP-ECF No. 252, p. 114, L. 3-5.
82    AP-ECF No. 252, p. 42, L. 2-5.
83    AP-ECF No. 252, p. 25, L. 3-10.
84    AP-ECF No. 252, p. 25, L. 9-17.
85    AP-ECF No. 252, p 25, L. 18-25, p. 26, L. 1-8, 20-24.
86    AP-ECF No. 249, p. 90, L. 22-25, p. 91, L. 1-6, p. 100, L. 3-9; AP-ECF No. 250, p. 69, L. 20-21;
AP-ECF No. 252, p. 29, L. 8-24.

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Case 18-03034     Doc 271      Filed 03/31/22      Entered 03/31/22 16:16:42          Page 16 of 53




      In July of 2007, the Debtor withdrew $1,875,000 from the Partnership for the

Stratford car wash purchase (the “Car Wash Money”). 87 The Debtor testified he intended

to repay the Car Wash Money with interest using the “profits” from the Bridgeport and

Stratford car wash businesses, but had no specific interest rate in mind or term for

repayment, other than assuming that the term would be for so long as he owned the

businesses. 88 The Debtor used the term “profit” and “income” interchangeably in his

testimony to mean generally gross receipts less expenses rather than any accounting or

tax definition of the term. Like the House Money withdrawal, no terms for repaying the

Car Wash Money withdrawal were established – such as an interest rate, maturity date,

installment payment amount. The Debtor did not execute any document or promissory

note regarding the Car Wash Money. 89 The Car Wash Money may be reflected in the

Partnership’s 2007 federal tax return as an account receivable. 90

      The Debtor used a different limited liability company named Caelos, LLC

(“Caelos”) to buy the second car wash. The Debtor and Helen held equal membership

interests in Caelos. 91 The Partnership was not a member of Caelos. 92 Caelos paid

approximately $1,800,000 for the Stratford car wash. 93 No explanation was provided for

the discrepancy between the amount of Car Wash Money borrowed ($1,875,000) and the

$1,800,000 purchase price for the Stratford car wash. The Debtor believed this price to

be reasonable and estimated he would be able to repay the Car Wash Money to the

Partnership within six years if the Stratford car wash’s operating proceeds were at least


87    AP-ECF No. 252, p. 30, L. 6-12.
88    AP-ECF No. 249, p. 123, L. 20-24; AP-ECF No. 252, p. 85, L. 5-14.
89    AP-ECF No. 249, p. 59, L. 15-18, p. 115, L. 1-3, p. 123, L. 20-25, p. 124, L. 1.
90    AP-ECF No. 215-30, p. 5.
91    AP-ECF No. 249, p. 99, L. 23-25; AP-ECF No. 252, p. 27, L. 8-10, p. 28, L. 16-22.
92    AP-ECF No. 249, p. 80, L. 2-3; AP-ECF No. 252, p. 84, L. 7-9.
93    AP-ECF No. 252, p. 27, L. 18-20, p. 29, L. 2-4, p. 116, L. 21-24.

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Case 18-03034        Doc 271      Filed 03/31/22       Entered 03/31/22 16:16:42           Page 17 of 53




$300,000 per year. 94 The Debtor thought this was reasonable since it was $200,000 per

year less than the net income reports he had reviewed prior to purchase. 95

        The Debtor’s testimony lacked precision and varied regarding what he intended to

do with any “profit” earned by the car washes. In one instance he testified his intent was

to turn over any “profit” or “income” to the Partnership after repaying the Car Wash

Money. 96 In another instance, he testified he intended to share the “profits” with the

Partnership. 97 While the Debtor’s stated intentions are not necessarily inconsistent, they

demonstrate a lack of clarity. The Debtor presented no documentation supporting an

intent to share “profit” with the Partnership. 98 During the first part of 2007, the Bridgeport

car wash performed in line with its historical performance, with revenue exceeding

costs. 99 However, none of these proceeds were paid to the Partnership. 100

                                  The Car Washes Lose Money

        Approximately a month after the Stratford car wash purchase, both car washes

experienced a fifty percent downturn in gross revenue. 101 The Debtor attributed the

dramatic decline to the economic downturn known as the Great Recession. 102 Both car

washes lost money in 2007 and 2008, with combined losses in 2008 of approximately



94       AP-ECF No. 252, p. 30, L. 16-22, p. 85, L. 18-23; p. 116, L. 25, p. 117, L. 1-10; p. 120, L. 12-20.
95       AP-ECF No. 252, p. 75, L. 6-8; p. 120, 12-20.
96       AP-ECF No. 252, p. 30, L. 13-25, p. 31, L. 1-8, p. 108, L. 15-17.
97       AP-ECF No. 249, p. 111, L. 9-12, p. 115, L. 4-6.
98       AP-ECF No. 252, p. 32, L. 2-4, p. 86, L. 4-7.
99       AP-ECF No. 252, p. 25, L. 1-2.
100      AP-ECF No. 252, p. 91, L. 9-12.
101      AP-ECF No. 252, p. 32, L. 6-7, p. 34, L. 9-12, p. 35, L. 11-13.
102      AP-ECF No. 249, p. 175, L. 1-8; AP-ECF No. 252, p. 35, L. 3-10. I take judicial notice pursuant to
Fed.R.Evid. 201 noting the Great Recession began approximately in December 2007 and ended in about
June 2009.        “The Great Recession.” Robert Rich, Federal Reserve Bank of Cleveland.
https://www.federalreservehistory.org/essays/great-recession-of-200709; see also, AP-ECF No. 249, P.
172, L. 2-4, testimony from the Accountant, Kevin Sunkel, expressing his understanding that the Great
Recession in the United States occurred in late 2007, 2008, and 2009; see also, AP-ECF No. 251, p. 15,
L. 18-23.

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Case 18-03034        Doc 271      Filed 03/31/22      Entered 03/31/22 16:16:42            Page 18 of 53




$800,000. 103 Amidst the car washes’ financial struggles in 2008, the Debtor returned to

the practice of law forming his own law firm, Dilworth IP, LLC. 104 The car washes’ financial

performance never improved and combined they lost approximately $850,000 in 2009

and $600,000 in 2010. 105 To cover operating expenses during this time, the Debtor

withdrew additional funds from the Partnership. 106 The Partnership’s check register, AP-

ECF No. 214-6, reflects checks written payable to Caelos in varying amounts including

$1,000, $25,000, and $75,000. 107 Only the Debtor and the Partnership’s Accountants –

due to their receipt of the Partnership’s bank statements – knew of the additional

withdrawals. 108 No evidence was presented supporting a finding either that the Debtor

concealed from or disclosed to the Limited Partners any of his withdrawals from the

Partnership.

        In 2010, the Debtor tried to sell the car washes, but received no offers. Ultimately

in March of 2011, the Debtor abandoned the car wash businesses and all their equipment

to the landlords, who were the former sellers of the car washes. 109 The Debtor did not try

to liquidate any of the equipment or receive an offset for any rent due. 110

                            Additional Borrowing from Partnership

        In addition to withdrawing the House Money and the Car Wash Money, the Debtor

withdrew approximately $165,000 from the Partnership to cover special education




103      AP-ECF No. 249, p. 84, L. 6-11; AP-ECF No. 252, p. 37, L. 21-24.
104      AP-ECF No. 252, p. 42, L. 2-5, 16-25, p. 43, L. 1.
105      AP-ECF No. 252, p. 38, L. 14-21.
106      AP-ECF No. 249, p. 62, L. 25, p. 63, L. 1-3; AP-ECF No. 252, p. 38, L. 22-25, p. 39, L. 1.
107      AP-ECF No. 214-6, p. 2, 3; AP-ECF No. 249, p. 79, L. 16-23, p. 81, L. 22-25, p. 82, L. 1-2, 23-25,
p. 83, L. 1-4.
108      AP-ECF No. 252, p. 40, L. 2-7.
109      AP-ECF No. 249, p. 84, L. 12-15; AP-ECF No. 252, p. 39, L. 5-17, 21-23, p. 46, L. 4-7.
110      AP-ECF No. 252, p. 116, L. 2-8.

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Case 18-03034      Doc 271      Filed 03/31/22       Entered 03/31/22 16:16:42           Page 19 of 53




expenses for his children. 111 Helen consented to using Partnership funds to pay the

tuition for three of their children to attend a therapeutic boarding school facility (the

“School”). 112 One example of such spending is check number 127 written in the amount

of $23,800 to the School. 113 When the Debtor wrote the check, he did not execute any

documents or promissory notes evidencing an intent to repay the Partnership. 114

       The Debtor also withdrew funds from the Partnership to purchase clothes, family

vacations, and life insurance. 115 The Partnership’s check register reflects two checks for

$1,427.82 and $1,290.29 written to Resort Realty for a family vacation and check

numbers 108 for $20,800 and 109 for $8,766 written to “Pac Life” for the Debtor’s life

insurance premiums in which his wife and children are the named beneficiaries, not the

Partnership. 116 The Debtor did not sign a promissory note to the Partnership evidencing

an intent to repay these amounts at the time he wrote these checks. 117 He considered

the investment in clothes as a professional expense to grow his law practice, which would

assist in generating more income to pay back the Partnership. 118 Similarly, the Debtor

reasoned paying life insurance premiums and vacations benefited the Debtor’s wife and

children, and thus, fell within the ambit of the Partnership’s goals. 119

       The Debtor withdrew unspecified amounts from the Partnership to support his law

firm. 120 Plaintiff’s Exhibit 214-6 reflects one such instance where the Debtor wrote check


111    AP-ECF No. 249, p. 48, L. 8-11; AP-ECF No. 252, p. 44, L. 4-10.
112    AP-ECF No. 249, p. 106, L. 12-20, p. 109, L. 8-18; AP-ECF No. 250, p. 69, L. 11-15, p. 115, L. 4-
8.
113    AP-ECF No. 249, p. 83, L. 10-16; AP-ECF No. 214-6, p. 3 of 4.
114    AP-ECF No. 249, p. 59, L. 23-25, p. 60, L. 1.
115    AP-ECF No. 249, p. 48, L. 12-15; AP-ECF No. 252, p. 49, L. 9-12.
116    AP- ECF No. 214-6; AP-ECF No. 249, p. 79, L. 12-15, p. 80, L. 22-25, p. 81, L. 1-10, p. 83, L. 5-9.
117    AP-ECF No. 249, p. 59, L. 19-25; p. 60, L. 1.
118    AP-ECF No. 252, p. 88, L. 22-25, p. 89, L. 1-3.
119    AP-ECF No. 252, p. 89, L. 5-25, p. 90, L. 1-2.
120    AP-ECF No. 249, p. 63, L. 4-10.

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Case 18-03034   Doc 271   Filed 03/31/22   Entered 03/31/22 16:16:42   Page 20 of 53
Case 18-03034       Doc 271      Filed 03/31/22      Entered 03/31/22 16:16:42           Page 21 of 53




         *Includes credit of $292,000. AP-ECF No. 214-5.
         **No explanation was provided regarding the difference between this figure
           ($4,111,000) and the account receivable balance in the Partnership tax return
           for 2007 ($4,517,200).

        The amounts shown in the chart do not include any interest. 127 However, the total

amount of $5,572,000 as of the end of 2011 includes a credit of $272,000, representing

34 months when the Debtor declined any Management Fee payments (from

approximately March 2009 through the end of 2011). 128 The Debtor waived receipt of the

Management Fees in part due to his borrowing Partnership funds for personal

expenses. 129 The $5,572,000 figure reflects this credit. 130

        The Debtor never denied these funds were withdrawn and the Accountant, Kevin

Sunkel, was unaware of the Debtor ever denying he needed to repay the funds. 131 Mr.

Sunkel testified he assisted in preparation of the Partnership’s tax returns for the years

2006 and 2007 and reported the funds the Debtor withdrew as an account receivable of

the Partnership. 132 Another Accountant, Don Scherer, in 2007, prepared handwritten

notes in advance of the Partnership’s tax returns indicating certain sums, including the

Car Wash Money, were loans to the Debtor. 133

        But, as of the February 2012 meeting, the Debtor had failed to repay any of the

withdrawn amounts other than by declining thirty-four monthly management fees. 134

During the February 2012 meeting, the Debtor agreed to immediately turn over the



127     AP-ECF No. 249, p. 148, L. 24-25, p. 149, L. 1.
128     AP-ECF No. 249, p. 149, L. 2-17, p. 159, L. 1-11, p. 185, L. 15-21.
129     AP-ECF No. 252, p. 49, L. 13-22.
130     AP-ECF No. 214-5; AP-ECF No. 249, p. 149, L. 5-1.
131     AP-ECF No. 249, p. 147, L. 21-23, p. 165, L. 5-7.
132     AP-ECF No. 249, p. 153, L. 1-18; p. 163, L. 16-25, p. 164, p. 1-22, p. 180, L. 5-24; AP-ECF Nos.
215-29, 215-30.
133     AP-ECF No. 215-21.
134     AP-ECF No. 249, p. 151, L. 10-13.

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Case 18-03034        Doc 271      Filed 03/31/22       Entered 03/31/22 16:16:42           Page 22 of 53




Partnership’s management responsibilities to Helen and promised (orally) to repay the

funds. 135 The Debtor remained a general partner of the Partnership at this time.

        Helen retained Richard Esposito (“Mr. Esposito”) of Lighthouse Wealth

Management (“Lighthouse”) to assist in the management of the Partnership’s finances. 136

Mr. Esposito is a chartered financial consultant specializing in financial planning and

wealth management, a chartered life underwriter, and a retirement income certified

professional. 137    Both the Debtor and Helen also personally became clients of Mr.

Esposito. 138 During a February 2012 meeting between Helen and Mr. Esposito, Helen

informed him she believed the Debtor’s use of Partnership funds had been done in good

faith. 139 Later, in a phone conversation with the Debtor on March 26, 2012, Mr. Esposito

noted his impression that the Debtor “was very forthcoming regarding his fault vis-a-vis

bad decision-making” and the Debtor “explained that in the past, distributions were not

properly done.” 140

        At some point around May of 2012, Helen and the Debtor retained Attorney Scott

Jacobs of S. H. Jacobs and Associates (“Attorney Jacobs”), as counsel. 141 Helen and

the Debtor sought counsel from Attorney Jacobs regarding how to address the amount of

Partnership funds withdrawn, how to repay those amounts in a manner the Debtor could

afford, and to prepare loan documentation and releases. 142



135      AP-ECF No. 252, p. 48, L. 10-11, 14-16.
136      AP-ECF No. 250, p. 134, L. 13-15, p. 148, L. 8-12; AP-ECF No. 251, p. 8, L. 1-2; AP-ECF No. 252,
p. 48, L. 17-19.
137      AP-ECF No. 250, p. 145, L. 1-4; AP-ECF No. 251, p. 3, L. 14-23.
138      AP-ECF No. 250, p. 148, L. 6-18.
139      AP-ECF No. 250, p. 134, L. 22-25, p. 135, L. 1, 17-19.
140      AP-ECF No. 214-8; AP-ECF No. 250, p. 162, L. 15-25; p. 163, L. 1-2.
141      AP-ECF No. 249, p. 193, L. 4-7, 21-25, p. 194, L. 4-12, p. 210, L. 18-24, p. 212, L. 1-8, 18-21.
142      AP-ECF No. 249, p. 193, L. 4-7, 21-25, p. 194, L. 4-12, p. 209, L. 21-23, p. 210, L. 18-24, p. 211,
L. 10-21, p. 219, L. 1-2.

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Case 18-03034      Doc 271     Filed 03/31/22    Entered 03/31/22 16:16:42         Page 23 of 53




       At some point after retaining Attorney Jacobs, Helen’s sisters – who were

beneficiaries of the Partnership – became aware of the amounts withdrawn from the

Partnership and, in 2013, retained Attorney William Rohrer to represent their interests. 143

Towards the end of 2013, Attorney Rohrer began negotiating with Attorney Jacobs on

how to address the funds taken by the Debtor. This process was hotly contested. 144

       In December of 2013, the Debtor resigned as trustee for all trusts involving the

McFeelys, including the Multigenerational Trust and the Revocable Trusts. 145 At about

the same time, the Debtor withdrew as a general partner of the Partnership. 146 At some

point at the end of 2013 or early 2014, the Debtor and Helen separated. 147

                                    The Promissory Note

       Attorney Jacobs drafted a promissory note to memorialize the Partnership funds

borrowed by the Debtor. 148 In 2014, prior to Attorney Jacob’s drafting a note, the Debtor

made payments of $60,000 to repay the Partnership. 149              The Debtor executed the

promissory note with a principal balance of $5,893,588.35 in favor of the Partnership on

January 16, 2015 (the “Note”). 150 The Note included the applicable federal rate of interest

with a 3.6% premium. 151 The applicable federal rate is an interest rate applicable to loans

between related parties. 152 Attorney Jacobs indicated one reason related parties may




143    AP-ECF No. 249, p. 114, L. 6-9; AP-ECF No. 250, p. 27, L. 25, p. 28, L. 1-4, 11-13.
144    AP-ECF No. 250, p. 31, L. 3-6, p. 33, L. 16-20.
145    AP-ECF No. 214-14.
146    AP-ECF No. 95, ¶ 28; AP-ECF No. 111, ¶ 28; AP-ECF No. 214-14.
147    AP-ECF No. 250, p. 66, L. 16-17; AP-ECF No. 252, p. 92, L. 22-23.
148    AP-ECF No. 250, p. 27, L. 23-25; AP-ECF No. 252, p. 53, L. 3-8.
149    AP-ECF No. 252, p. 56, L. 2-9.
150    AP-ECF No. 214-15; AP-ECF No. 249, p. 15, L. 12-17; AP-ECF No. 250, p. 27, L. 23-25; AP-ECF
No. 252, p. 52, L. 24-25, p. 53, L. 1-8.
151    AP-ECF No. 249, p. 176, L. 18-25, p. 177, L. 1-2.
152    AP-ECF No. 249, p. 177, L. 14-18; AP-ECF No. 250, p. 40, L. 13-19.

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Case 18-03034        Doc 271      Filed 03/31/22       Entered 03/31/22 16:16:42            Page 24 of 53




use the applicable federal rate of interest is so the Internal Revenue Service would be

more likely to characterize the transaction as a true loan, rather than a gift. 153

        The Debtor testified he was unaware the Partnership would ever sue him for fraud

or defalcation, and if he had known, he would not have signed the Note without hiring his

own counsel because he never intended to commit fraud. 154 It strains credulity that a

practicing attorney like the Debtor would not consult with his own lawyer before signing a

$5.8 million dollar note to his soon-to-be ex-wife’s family’s partnership.

                       The Divorce and Sale of Abbey Road Property

        About three months after the Note’s execution, on April 13, 2015, Helen filed for

divorce from the Debtor. 155 The Superior Court entered a judgment of dissolution based

upon Helen and the Debtor’s separation agreement (the “Divorce Agreement”) in

February 2016. 156 As part of the Divorce Agreement, Helen and the Debtor exchanged

mutual releases of all claims against each other. 157

        In 2015, before the divorce was finalized, the Debtor and Helen sold the Abbey

Road property. The Abbey Road property sold at a lower price than the Debtor and Helen

had paid to purchase it, generating proceeds of approximately $100,000 after satisfying

mortgages. 158 The proceeds were not paid to the Partnership. 159




153       AP-ECF No. 250, p. 40, L. 20-24.
154       AP-ECF No. 252, p. 54, L. 13-21.
155       AP-ECF No. 215-15; AP-ECF No. 252, p. 56, L. 15-17; see also, Superior Court docket, Helen
Dilworth v. Michael Dilworth, FST-FA-XX-XXXXXXX-S. The court takes judicial notice of the docket of the
Superior Court case pursuant to Fed.R.Evid. 201. The docket is available publicly online at:
http://civilinquiry.jud.ct.gov/CaseDetail/PublicCaseDetail.aspx?DocketNo=FSTFA156025027S
156       AP-ECF No. 215-15; AP-ECF No. 249, p. 15, L. 18-23.
157       AP-ECF No. 250, p. 123, L. 2-10; AP-ECF No. 252, p. 63, L. 20-24; AP-ECF No. 215-15, Art. XI.
158       AP-ECF No. 249, p. 125, L. 5-7; AP-ECF No. 252, p. 20. L. 3-4, p. 41, L. 13-14, p. 92, L. 24-25, p.
93, L. 1.
159       AP-ECF No. 249, p. 16-18.

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Case 18-03034    Doc 271     Filed 03/31/22     Entered 03/31/22 16:16:42     Page 25 of 53




      At some point following the divorce, the Debtor started considering filing a

bankruptcy case because child support, alimony, and taxes consumed all his income,

making payments under the Note impossible. 160

                               The Settlement Agreement

      One year after the divorce and two years after the Note, on May 9, 2017, the

Debtor, as former general partner of the Partnership and former trustee for several trusts,

entered into a settlement agreement with Helen’s sisters and Helen, individually, as

trustee of several Trusts, and, as general partner of the Partnership (the “Settlement

Agreement”). 161 The Settlement Agreement was the result of three years of negotiations

between Attorney Jacobs and Attorney Rohrer, counsel for Helen’s sisters. 162

      As part of the Settlement Agreement, Helen’s sisters released the Debtor from all

claims arising prior to the Settlement Agreement – with the exception of the amounts due

under the Note. Section 9 of the Settlement Agreement provided, in relevant part:

          General Release: Upon execution hereof, the parties to this Agreement
          hereby give the following general releases as part of this Agreement; and
          as set forth below without the need for the execution of any additional
          documents.
          (b) Except to the extent of and obligations created or reaffirmed herein,
              [Helen’s sisters], … hereby release … [the Debtor] … from any and all
              claims, liabilities, demands, obligations, damages, lawsuits, debts …
              whatsoever, whether known or unknown … in law or equity … seeking
              damages, attorney’s fees, litigation costs, injunctive, contractual, extra-
              contractual, declaratory or any other relief … or otherwise that [Helen’s
              sisters] now has or may have in the future against [the Debtor] for any
              acts or omissions that may have occurred prior to the Effective Date of
              this Agreement … in any way related to the Trusts or the Partnership
              and the Loans. However, nothing herein or in such releases shall
              release any person’s obligations under this Agreement.
          AP-ECF No. 214-14, P. 10 of 75.


160   AP-ECF No. 252, p. 69, L. 17-23.
161   AP-ECF No. 214-14; AP-ECF No. 250, p. 31, L. 10-16.
162   AP-ECF No. 250, p. 31, L. 3-6, p. 33, L. 16-20.

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Case 18-03034        Doc 271      Filed 03/31/22      Entered 03/31/22 16:16:42   Page 26 of 53




         The Settlement Agreement did not except from the release any claim against the

Debtor other than the Note. 163 The Partnership did not provide any release to the Debtor.

                                     Debtor Files Bankruptcy

         Approximately eighteen months after the execution of the Settlement Agreement,

on September 19, 2018, the Debtor filed a Chapter 7 bankruptcy petition. ECF No. 1.

The Debtor had made payments of over $500,000 pursuant to the Note prior to filing. 164

The Debtor’s bankruptcy case is primarily a two-party dispute between the Debtor and

the Partnership regarding its debt. The only other debts listed by the Debtor include an

unsecured debt of approximately $22,535.63 owed to a law firm and a contingent debt of

an unknown amount owed to People’s United Bank on a personal guaranty. ECF Nos.

1, 24.

                                 Mr. Esposito’s Expert Opinions

         The Partnership presented testimony by Mr. Esposito as an expert witness to,

“demonstrate that the Partnership suffered significant losses as a consequence of [the

Debtor’s] poor stewardship and improvident use of the Partnership’s assets.”165 Mr.

Esposito hypothesized that had the Debtor not withdrawn the Partnership’s funds, the

money could have been invested, and, because it was not, the estimated earnings it could

have made constituted a lost opportunity. 166 Mr. Esposito estimated if the funds the

Debtor withdrew from 2002 to January of 2012 had been invested, the funds could have

earned the amounts shown in the following chart through December 31, 2018. 167 Mr.




163      AP-ECF No. 214-14.
164      AP-ECF No. 252, p. 52, L. 14-20.
165      AP-ECF No. 264, p. 19.
166      AP-ECF No. 250, p. 171, L. 19-21, p. 187, L. 22-25.
167      AP-ECF No. 251, p. 22, L. 17-23.

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Case 18-03034   Doc 271   Filed 03/31/22   Entered 03/31/22 16:16:42   Page 27 of 53
Case 18-03034        Doc 271       Filed 03/31/22        Entered 03/31/22 16:16:42            Page 28 of 53




        period, while providing a policy with respect to distributions to the Partners
        which promotes growth in the value of the Partnership assets. 174

        Mr. Esposito acknowledged the Partnership Agreement did not limit investments

to certain strategies and permitted investments in many different types of assets. 175 But

despite the lack of limits, he did not believe the Partnership Agreement provided a general

partner with authority – as an investment strategy – to invest partnership funds in a

personal residence or a car wash business in which the Partnership had no interest. 176

Mr. Esposito was not asked to opine on the profitability of a car wash; how the profitability

of a car wash might compare with the S&P 500 or a bond market; or what the total return

might be for a car wash. 177

        Mr. Esposito’s opinion was limited to § 4.6 and did not include an opinion regarding

§§ 4.8, 4.9, 8, 8.1 or 15.4. 178 Section 15.4 provided, in relevant part:

        The doing of any act or the failure to do any act by a Partner or the
        Partnership, the effect of which causes any loss or damage to the
        Partnership, will not subject such Partner or the Partnership to any liability,
        if done pursuant to advice of the Partnership’s legal counsel or in good faith
        to promote the Partnership’s best interests. 179

        Mr. Esposito provided no insight on whether § 15.4 of the Partnership Agreement,

limiting the liability of partners who act in good faith, impacted his opinion. While Mr.

Esposito’s opinion appears reasoned, the court finds it of little value in the context of this

case. Mr. Esposito was qualified as an expert for wealth management and asked to opine

on § 4.6 of the Partnership Agreement. He did not draft the Partnership Agreement and



174      AP-ECF No. 214-3.
175      AP-ECF No. 251, p. 32, L. 8-13, p. 36, L. 16-19.
176      AP-ECF No. 251, p. 86, L. 5-17.
177      AP-ECF No. 251, p. 42, L. 10-19, p. 44, L. 4-11.
178      AP-ECF No. 251, p. 28, L. 7-8, p. 29, L. 11-13, p. 32, L. 20-22, p. 33, L. 18-20, p. 35, L. 5-7, p.
41, L. 3-19.
179      Pl. Ex. 214-3, p. 19 of 27.

                                                                                                               28
Case 18-03034    Doc 271     Filed 03/31/22   Entered 03/31/22 16:16:42      Page 29 of 53




was not a legal expert as to what was required generally under this particular Partnership

Agreement.

 V.   APPLICABLE LAW

      Before determining whether a debt is dischargeable, there must first be a debt.

The Bankruptcy Code defines the term “debt” to mean “liability on a claim” and “claim” is

broadly defined as a “right to payment, whether or not such right is reduced to judgment,

liquidated, unliquidated … matured, unmatured, disputed, undisputed ...” 11 U.S.C. §§

101(5), (12). The Supreme Court “has held even a right to payment that is not enforceable

because the statute of limitations has expired is a claim, at least if the underlying non-

bankruptcy law does not extinguish the right to payment.” 2 Collier on Bankruptcy ¶

101.05 (16th)(citing, Midland Funding, LLC v. Johnson, 137 S. Ct. 1407, 1411 (2017)).

      In determining whether the Partnership holds a right to payment, the bankruptcy

court must look to state law. See, Butner v. United States, 440 U.S. 48, 57 (1979)(state

law governs the substance of claims.). In addition to defining the claim, I must consider

whether any state law has extinguished the right to payment. In re Bak, 10-23045 ASD,

2013 WL 653073, at *7 (Bankr. D. Conn. Feb. 20, 2013)(“In other words, if non-bankruptcy

law requires that a lawsuit to establish liability on any viable ground be brought prior to

applicable statutes of limitation, and the creditor has not done so, then the debt cannot

be established for non-dischargeability purposes.”).

      Here, the Partnership Agreement provides the parties’ conduct shall be interpreted

in accordance with Delaware law. AP-ECF No. 214-3, § 15.5. “[B]ankruptcy courts

considering state law claims that do not implicate significant federal bankruptcy policy

concerns should apply the choice of law rules of the forum state.” In re Stanwich Fin.



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Case 18-03034      Doc 271    Filed 03/31/22     Entered 03/31/22 16:16:42      Page 30 of 53




Services Corp., 317 B.R. 224, 228 (Bankr. D. Conn. 2004)(citing, In re Gaston & Snow,

243 F.3d 599, 605 (2d Cir.2001)); see also, One40 Beauty Lounge LLC v. Sentinel Ins.

Co., Docket No. 3:20-CV-00643 (KAD), 2021 U.S. Dist. LEXIS 216320, at *12 (D. Conn.

Nov. 9, 2021) (“The threshold choice of law question . . . is whether there is an outcome

determinative conflict between the applicable laws of the states with a potential interest

in the case. If not, there is no need to perform a choice of law analysis, and the law

common to the jurisdictions should be applied”)(citing, Lumbermens Mut. Cas. Co. v.

Dillon Co., 9 F. App’x 81, 83 (2d Cir. 2001)).

         And, even though the forum state here is Connecticut, I need not dwell on the

question of whether it might be more appropriate to apply Connecticut law, because the

same result follows with the application of either. Philadelphia Indem. Ins. Co. v. 1961

Boston Post Rd. LLC, 3:19-CV-01943 (TOF), 2021 WL 1783119, at *5 (D. Conn. May 4,

2021)(“[U]nder Connecticut’s choice-of-law rules, there is no need to perform a choice of

law analysis if there is no outcome determinative conflict between applicable laws of the

states with a potential interest in the case.”)(Internal citations omitted). Additionally, both

parties agree the Partnership Agreement is governed by Delaware law. AP-ECF No. 22,

p. 22; AP-ECF No. 265, p. 3, 36 (“The [Partnership Agreement] is governed by Delaware

law”).

                                   Statute of Limitations

         Under Delaware law, a claim for breach of fiduciary duty or fraud must be brought

within three (3) years of the wrongful act. 10 Del. C. § 8106; Jeter v. RevolutionWear,

Inc., CV 11706-VCG, 2016 WL 3947951, at *9 (Del. Ch. July 19, 2016)(“In Delaware,

claims based in fraud are subject to a statute of limitation of three years.”); In re Tyson



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Case 18-03034    Doc 271     Filed 03/31/22   Entered 03/31/22 16:16:42       Page 31 of 53




Foods, Inc., 919 A.2d 563, 584 (Del. Ch. 2007)(three-year statute of limitations applies to

breaches of fiduciary duty); Connecticut Investments LLC v. KDP, LLC, 5:20-CV-179,

2021 WL 3519709, at *4 (D. Vt. Apr. 29, 2021)(“Delaware is an ‘occurrence’ jurisdiction,

meaning a cause of action accrues ‘at the time of the wrongful act, even if the plaintiff is

ignorant of the cause of action.’”)(citing, ISN Software Corp. v. Richards, Layton & Finger,

P.A., 226 A.3d 727, 732 (Del. 2020)).

       Connecticut law is the same. “All common law tort claims, including claims for

fraud, negligent misrepresentation, and breach of fiduciary duty, are subject to a three-

year statute of limitations, which runs from the date of ‘the act or omission complained

of.’ Conn. Gen.Stat. § 52–577.” In re Colonial Ltd. P’ship Litig., 854 F.Supp. 64, 90

(D.Conn.1994).

                         Looking Behind A Note or Judgment

       Even if a creditor reduces a claim to a state court judgment or enters into a

settlement agreement resolving a claim, a bankruptcy court is not barred from inquiring

into the true nature of the debt and whether – at its heart – the debt arose from fraudulent

conduct. Brown v. Felsen, 442 U.S. 127 (1979). In Brown, the stipulated judgment

provided the defendant would pay a set amount and never mentioned or referred to fraud.

Brown, 442 U.S. 128-129. Nonetheless, the Supreme Court held the bankruptcy court

correctly reviewed the underlying circumstances giving rise to the initial debt reasoning

that barring such review would undercut Congress’s intent that all debts arising out of

fraud should be excepted from discharge and that bankruptcy courts, rather than state

courts, should resolve questions of dischargeability. Brown, 442 U.S. 138 (noting a




                                                                                         31
Case 18-03034    Doc 271     Filed 03/31/22   Entered 03/31/22 16:16:42         Page 32 of 53




bankruptcy court could consider whether or not a plaintiff’s failure to press fraud

allegations at an earlier time betrays a weakness in its case on the merits).

      The Supreme Court revisited Brown in Archer v. Warner, 538 U.S. 314 (2003). In

Archer, the Supreme Court succinctly summarized the facts as follows:

      (1) A sues B seeking money that (A says) B obtained through fraud;
      (2) the parties settle the lawsuit and release related claims;
      (3) the settlement agreement does not resolve the issue of fraud, but
      provides that B will pay A a fixed sum;
      (4) B does not pay the fixed sum;
      (5) B enters bankruptcy; and
      (6) A claims that B’s obligation to pay the fixed settlement sum is
      nondischargeable because, like the original debt, it is for “money …
      obtained by … fraud.”
      Archer, 538 U.S. at 316-317.

      The Supreme Court agreed the settlement and promissory note, coupled with the

broad release language, released the underlying state law claim, and left only one

relevant debt: a debt for money promised in the settlement agreement itself. Archer, 538

U.S. at 318-319. But the Supreme Court concluded the settlement agreement’s new

promise to pay did not foreclose bankruptcy court review of the underlying circumstances

that gave rise to the initial debt. Archer, 538 U.S. at 321 (“A debt embodied in the

settlement of a fraud case ‘arises’ no less ‘out of’ the underlying fraud than a debt

embodied in a stipulation and consent decree.”).         The Supreme Court found the

settlement agreement – like the stipulated judgment in Brown – did not change the nature

of the debt for dischargeability purposes, allowing the bankruptcy court to weigh all the

evidence when evaluating whether the debt was non-dischargeable pursuant to §

523(a)(2)(A). The Supreme Court specifically rejected the idea espoused by Justice

Thomas in his dissent that the settlement agreement worked a sort of novation severing

the connection between the debt and the fraud and leaving the only a contractual debt

                                                                                         32
Case 18-03034    Doc 271     Filed 03/31/22   Entered 03/31/22 16:16:42      Page 33 of 53




voluntarily obtained by the parties’ agreement for the bankruptcy court to review. Archer,

538 U.S. at 327-328 (dissenting opinion).

       The Supreme Court’s reasoning in Archer has been extended to cases seeking a

determination of non-dischargeability under § 523(a)(4). See, In re DeTrano, 326 F.3d

319 (2d Cir. 2003)(“The reasoning of Archer nonetheless controls the outcome here”).

“The general principle of Brown and Archer – that bankruptcy courts should examine the

underlying nature of a debt, no matter what its form, when the dischargeability of the debt

is in question – has been followed” and routinely extended.         Burrell-Richardson v.

Massachusetts Board of Higher Education (In re Burrell-Richardson), 356 B.R. 797, 802

(B.A.P. 1st Cir. 2006)(concluding a student loan obligation did not change its underlying

non-dischargeable characteristics after a creditor obtained a default judgment based on

nonpayment); Musich v. Graham (In re Graham), 455 B.R. 227, 233 (Bankr. D. Colo.

2011)(extended to debts for willful and malicious injuries under § 523(a)(6)); Ramey v.

Barton (In re Barton), 321 B.R. 869, 874 (Bankr. N.D. Ohio 2004)(extended to include

obligations arising from divorce and separation agreements under § 523(a)(15)).

“[B]ankruptcy courts must focus on the conduct from which the debt at issue originally

arose, even though the debt may subsequently have taken on other documentary forms

as a result of litigation, administrative proceedings or settlement negotiations.” In re

Pierce, 563 B.R. 698, 707 (Bankr. C.D. Ill. 2017)(“This issue is decided as a matter of

federal law, which preempts general principles of state novation and preclusion law to the

contrary.”).




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Case 18-03034     Doc 271    Filed 03/31/22    Entered 03/31/22 16:16:42       Page 34 of 53




                      Dischargeability of Debts Under § 523(a)(4)
                                  Burden of Proof
       Congress identified certain circumstances in Bankruptcy Code § 523 “where

considerations of public policy, fairness, and equity may lead to a denial of the

dischargeability of a particular debt.” In re Dvorkin, 19-41157-ESS, 2020 WL 930098, at

*6 (Bankr.E.D.N.Y. Feb. 26, 2020). As relevant here, § 523(a)(4) excepts from discharge

debts arising from “fraud or defalcation while acting in a fiduciary capacity, embezzlement,

or larceny.” 11 U.S.C. § 523(a)(4). “A creditor seeking to establish nondischargeability

under § 523(a) must do so by the preponderance of the evidence.” Ball v. A.O. Smith

Corp., 451 F.3d 66, 69 (2d Cir. 2006)(citing, Grogan v. Garner, 498 U.S. 279 (1991)).

“The burden of showing something by a preponderance of the evidence ... simply requires

the trier of fact to believe that the existence of a fact is more probable than its

nonexistence ...” Metro. Stevedore Co. v. Rambo, 521 U.S. 121, 137, n.9 (1997)(internal

citations omitted). “As the finder of fact, the Court is entitled to make credibility findings

of the witnesses and testimony.” In re Levin, 8-17-77330-LAS, 2020 WL 1987783, at *2

(Bankr. E.D.N.Y. Apr. 24, 2020)(Internal citations omitted).

                                  Fraud and Defalcation

       To prevail on a § 523(a)(4) claim for fraud or defalcation, a plaintiff must first

establish a debtor was acting in a fiduciary capacity. See, In re Smallwood, 20-42708-

NHL, 2021 WL 4465560, at *7 (Bankr. E.D.N.Y. Sept. 28, 2021)(“The question of whether

a defalcation has occurred is reached only when the threshold determination that the

debtor acted in a fiduciary capacity has been made”)(citing, In re Nofer, 514 B.R. 346,

353–54 (Bankr.E.D.N.Y. 2014)).        “The Bankruptcy Code does not define the term

‘fiduciary’” and courts look to federal law to determine its meaning. In re Peters, 18-50125


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Case 18-03034       Doc 271   Filed 03/31/22    Entered 03/31/22 16:16:42     Page 35 of 53




(JAM), 2020 WL 1189331, at *4 (Bankr.D.Conn. Mar. 5, 2020). A “fiduciary relationship

under § 523(a)(4) generally involves express trusts, technical trusts or statutorily imposed

trusts.” In re Tashlitsky, 492 B.R. 640, 644 (Bankr. E.D.N.Y. 2013). For instance, there

is no cause of action under § 523(a)(4) based on the existence of a constructive or

resulting trust because those types of trusts serve as remedies for another’s breach of

duty. Guerra v. Fernandez–Rocha (In re Fernandez–Rocha), 451 F.3d 813, 816 (11th

Cir. 2006)(“‘[C]onstructive’ or ‘resulting’ trusts, which generally serve as a remedy for

some dereliction of duty in a confidential relationship, do not fall within the § 523(a)(4)

exception ‘because the act which created the debt simultaneously created the trust

relationship.’”).

       In the context of § 523(a)(4), the Second Circuit has indicated two parties are in a

fiduciary relationship when there is “a difference in knowledge or power between fiduciary

and principal which ... gives the former a position of ascendancy over the latter.” In re

Hayes, 183 F.3d 162, 167 (2d Cir. 1999); see also, In re Snyder, 939 F.3d 92, 101 (2d

Cir. 2019)(“[T]he defalcation exception is not limited to express trusts,” rather, the

exception applies where there is “a difference in knowledge or power between fiduciary

and principal which ... gives the former a position of ascendancy over the latter.”).

       The fiduciary requirement of § 523(a)(4) may also include relationships in which

trust-type relationships are forged under state statutory or common law. In re West, 339

B.R. 557, 566 (Bankr.E.D.N.Y. 2006).           “[S]tate law can be an important factor in

determining whether someone acted in a fiduciary capacity under Section 523(a)(4).”

Hayes, 183 F.3d at 166. The requisite fiduciary capacity needed for § 523(a)(4) has been

found, for example, based on an attorney-client relationship (Hayes, 183 F.3d at 162); the



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Case 18-03034     Doc 271    Filed 03/31/22    Entered 03/31/22 16:16:42       Page 36 of 53




duty owed by a corporate officer or director to shareholders (Nofer, 514 B.R. at 354); and

the duty owed by a managing member and chief executive officer of a limited liability

company to other members (Currie v. Sanchez (In re Sanchez), 2016 WL 5376189, at *4,

2016 Bankr. LEXIS 3481, *13 (Bankr. S.D.N.Y. Sept. 26, 2016)).

       Under Delaware law, a general partner serves as a fiduciary to a partnership and

its limited partners. In this case, § 15.5 of the Partnership Agreement provides it is to be

interpreted under Delaware law. AP-ECF No. 214-3. Accordingly, Delaware law is

relevant to whether the Debtor is a fiduciary. “As a fiduciary, and absent contractual

modification, a general partner’s duties to limited partners and the partnership parallel

those exercised by directors of Delaware corporations.” Dohmen v. Goodman, 234 A.3d

1161, 1167 (Del. 2020); see also, Gotham Partners, L.P. v. Hallwood Realty Partners,

L.P., 817 A.2d 160, 170 (Del. 2002) (Absent a contrary provision in the partnership

agreement, “a general partner owes the traditional fiduciary duties of loyalty and care to

the limited partnership and its partners.”); Feeley v. NHAOCG, LLC, 62 A.3d 649, 661

(Del. Ch. 2012)(“[T]here has never been any serious doubt that the general partner of a

Delaware limited partnership owes fiduciary duties”).

       For purposes of § 523(a)(4), defalcation is the misappropriation or misuse of

property or funds entrusted to a fiduciary. In re Wizenberg, 20-11616, 2021 WL 777142,

at *5 (11th Cir. Mar. 1, 2021). Defalcation requires “a culpable state of mind,” specifically,

“knowledge of, or gross recklessness in respect to, the improper nature of the relevant

fiduciary behavior.” In re Snyder, 939 F.3d at 102 (citing, Bullock v. BankChampaign,

N.A., 569 U.S. 267, 269 (2013)). The Supreme Court in Bullock observed its decision

resolved a split among the courts of appeal on the level of intent required for a breach of



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Case 18-03034     Doc 271     Filed 03/31/22    Entered 03/31/22 16:16:42       Page 37 of 53




fiduciary duty to constitute “defalcation.” Bullock, 569 U.S. at 271 (collecting cases and

comparing the positions of the 4th and 9th Circuits (finding negligence or innocent mistake

sufficient for defalcation) with the 1st and 11th Circuits (requiring a showing closer to

extreme recklessness for defalcation)). Bullock supersedes the Fifth Circuit’s decision in

In re Moreno, 892 F.2d 417 (5th Cir. 1990), relied on by the Partnership.

       A fiduciary’s conduct is reckless where “the fiduciary ‘consciously disregards’ (or

is willfully blind to) ‘a substantial and unjustifiable risk’ that his conduct will turn out to

violate a fiduciary duty.” Bullock, 569 U.S. at 274 (The conduct to render a debt non-

dischargeable under § 523(a)(4) must be similar to reckless conduct of the kind set forth

in the Model Penal Code or which criminal law often treats as equivalent to intentional

conduct). Conscious disregard has, in turn, been defined to involve “a gross deviation

from the standard of conduct that a law-abiding person would observe in the actor’s

situation.”   Bullock, 569 U.S. at 274 (emphasis in original)(citing, Ernst & Ernst v.

Hochfelder, 425 U.S. 185, 194, n. 12 (1976)(defining scienter for securities law purposes

as a mental state embracing “intent to deceive, manipulate, or defraud”)).

       This standard “insures that the harsh sanction of non-dischargeability is reserved

for those who exhibit some portion of misconduct,” without “reach[ing] fiduciaries who

may have failed to account for funds or property for which they were responsible only as

a consequence of negligence, inadvertence or similar conduct not shown to be sufficiently

culpable.” In re Snyder, 939 F.3d at 102 (citing, In re Hyman, 502 F.3d 61, 68-69 (2d Cir.

2007)). “Mere negligence, without some element of intentional wrongdoing, breach of

fiduciary duty or other identifiable misconduct, does not constitute a ‘defalcation’ within




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Case 18-03034      Doc 271   Filed 03/31/22    Entered 03/31/22 16:16:42      Page 38 of 53




the meaning of section 523(a)(4).” In re Deutsch, 575 B.R. 590, 601 (Bankr. S.D.N.Y.

2017).

         Fraud pursuant to § 523(a)(4), “has generally been interpreted as involving

intentional deceit, rather than implied or constructive fraud.” 4 Collier on Bankruptcy ¶

523.10[1][b], 532-71 (16th).     The Bankruptcy Code “incorporates the common law

elements of fraud, ‘includ[ing] a false representation, scienter, reliance, and harm.’” In re

Deutsch, 575 B.R. at 601 (citing, Nofer, 514 B.R. at 355).

                                         Larceny

         Bankruptcy Code § 523(a)(4)’s phrase “while acting in a fiduciary capacity” does

not qualify the words “embezzlement” or “larceny.” Bullock, 569 U.S. at 275. “Larceny,

for purposes of section 523(a)(4), is ‘the fraudulent and wrongful taking and carrying away

of the property of another with the intent to convert the property to the taker’s use without

the consent of the owner.” In re Veneziano, 615 B.R. 666, 678 (Bankr.D.Conn. 2020).

To constitute larceny “a defendant must possess the unlawful intent at the time of the

original taking.” In re Daffner, 612 B.R. 630, 652 (Bankr.E.D.N.Y. 2020).

                                      Embezzlement

         Embezzlement, under § 523(a)(4), “is determined based on federal common law,”

3N Int'l, Inc. v. Carrano (In re Carrano), 530 B.R. 540, 558 (Bankr.D.Conn. 2015), and

has been defined repeatedly as “the fraudulent appropriation of property by a person to

whom such property has been entrusted, or into whose hands it has lawfully come.”

Conn. Attorneys Title Insurance Co. v. Budnick (In re Budnick), 469 B.R. 158, 176

(Bankr.D.Conn. 2012)(internal citation omitted).      “The Plaintiff must establish three

elements to sustain a claim under § 523(a)(4) for embezzlement: (1) the debtor rightfully



                                                                                          38
Case 18-03034     Doc 271    Filed 03/31/22    Entered 03/31/22 16:16:42       Page 39 of 53




possessed another’s property; (2) the debtor appropriated the property for use other than

the use for which the property was entrusted; and (3) the circumstances implied a

fraudulent intent.” In re Daffner, 612 B.R. at 651 (internal citations omitted). Different

than larceny, to constitute embezzlement, the original taking of the property must be

lawful, or, with the consent of the owner. See, In re Fiano, 15-21410 (AMN), 2017 WL

1207415, at *5 (Bankr.D.Conn. Mar. 31, 2017)(internal citations omitted).

                Debts for Willful and Malicious Injury Under § 523(a)(6)

       To prevail on its § 523(a)(6) claim, the Partnership must show, by a preponderance

of the evidence, the debt arose from a “willful” and “malicious” act which caused injury to

it or to its property. 11 U.S.C. § 523(a)(6); see also, Ball, 451 F.3d at 69. “The terms

‘willful’ and ‘malicious’ are separate elements, and both elements must be satisfied.” In

re Margulies, 541 B.R. 156, 161 (Bankr.S.D.N.Y. 2015) (internal citations omitted). The

Supreme Court, in Kawaauhau v. Geiger, held a non-dischargeable debt under §

523(a)(6) requires “a deliberate or intentional injury, not merely a deliberate or intentional

act that leads to injury.” Kawaauhau v. Geiger, 523 U.S. 57, 61 (1998); see also, In re

Margulies, 541 B.R. at 161–62 (“To prove that a debtor acted willfully under 11 U.S.C. §

523(a)(6), the plaintiff must demonstrate that the debtor deliberately intended to injure the

plaintiff”). Willfulness “includes conduct that the actor is substantially certain will cause

injury.” In re Mitchell, 227 B.R. 45, 51 (Bankr.S.D.N.Y. 1998).

       The Supreme Court further held that exceptions to discharge under § 523(a)(6)

should not be construed so broadly that even a “knowing breach of contract could ...

qualify.” Kawaauhau, 523 U.S. at 62; see also, 4 Collier on Bankruptcy ¶ 523.12 (“Courts

must be careful not to equate a breach of a contract … with conduct causing willful and



                                                                                           39
Case 18-03034    Doc 271     Filed 03/31/22   Entered 03/31/22 16:16:42       Page 40 of 53




malicious injury.”); compare, In re Mavrelis, 18-46430-ESS, 2020 WL 5883405, at *22

(Bankr.E.D.N.Y. Oct. 1, 2020)(injury is a broad concept including the lost opportunity to

realize substantial benefits from a real estate tax abatement). “[D]ebts arising from

recklessly or negligently inflicted injuries” are outside the scope of § 523(a)(6).”

Kawaauhau, 523 U.S. at 64.

       “Malicious” in this context means “wrongful and without just cause or excuse, even

in the absence of personal hatred, spite, or ill-will.” Ball, 451 F.3d at 69 (citing, In re

Stelluti, 94 F.3d 84, 87 (2d Cir.1996)). “Malice may be implied by the acts and conduct

of the debtor in the context of [the] surrounding circumstances.” Ball, 451 F.3d at 69.

“[A]ctual malice may be inferred or imputed, for example, from the fact that the debtor’s

conduct giving rise to liability has no potential for economic gain or other benefit to the

debtor, from which one could only conclude that the debtor’s motivation must have been

to inflict harm upon the creditor.” In re Luppino, 221 B.R. 693, 700 (Bankr. S.D.N.Y. 1998)

(holding that commercial bribery and breach of fiduciary duty lacked requisite malice).

“[A] knowing breach of contract generally does not satisfy the malicious element of §

523(a)(6) absent ‘some aggravating circumstance evidencing conduct so reprehensible

as to warrant denial of the ‘fresh start’ to which the ‘honest but unfortunate’ debtor would

normally be entitled under the Bankruptcy Code.’” In re Khafaga, 419 B.R. 539, 550

(Bankr.E.D.N.Y. 2009) (quoting, Luppino, 221 B.R. at 700).

 VI.   DISCUSSION

       The record here is sparse as to the Partnership’s innerworkings from 1998 through

2011 and provides a disjointed view of what transpired with the Partnership’s funds. And,

although there was testimony – generally – that disbursements or loans were made to



                                                                                         40
Case 18-03034     Doc 271    Filed 03/31/22    Entered 03/31/22 16:16:42       Page 41 of 53




others besides the Debtor, there was a lack of information regarding amounts or

frequency. The Debtor admitted two years of Partnership tax returns into evidence – for

2006 and 2007, however it is impossible to properly evaluate much about the returns

given the paucity of information about the Partnership’s tax history and attributes. Neither

party provided specific details about either the Debtor’s or Helen’s personal taxes. The

Debtor, an attorney by trade and former managing member of the Partnership,

surprisingly provided very little detail about significant aspects of his withdrawals totaling

more than $5,000,000, purchases and sales of real estate, and the financial performance

of his car wash businesses. Helen’s testimony revealed that as a general partner, she

was aware of some of the Partnership withdrawals, consented to others, but was

generally unaware or untroubled by the source of the funds needed to maintain her large

household or the holdings and operation of the Partnership. Few facts were introduced

supporting the idea that the Debtor used Partnership funds for his exclusive use, as

opposed to the use of his family. One of the most important documents here – the

Partnership Agreement – is broad in its grant of authority to the Debtor as managing

partner. With this backdrop, I have considered the Debtor’s conduct, whether it fell within

the authority granted by the Partnership Agreement, and whether it constitutes conduct

rendering the debt non-dischargeable.

                        The Debtor owes the Partnership a Debt

       The Debtor asserts any claims for breach of fiduciary duty or fraud long expired

under either Delaware’s or Connecticut’s statute of limitations and so there is nothing for

the court to determine non-dischargeable. I agree there appears to be no viable state

law claim for fraud or breach of fiduciary duty. Plaintiff’s Exhibit 214-4 indicates the



                                                                                           41
Case 18-03034      Doc 271       Filed 03/31/22      Entered 03/31/22 16:16:42              Page 42 of 53




Debtor’s last withdrawal of funds occurred in January 2012. There is no more exact date

for when the Debtor withdrew funds except the month of January. Three years from the

last withdrawal (January 2012) is January 2015. There is no evidence the Plaintiff – or

any party – brought an action for breach of fiduciary duty or fraud by or before January

2015. The Partnership does not assert any tolling doctrine applies extending the statute

of limitations.   Thus, any state law-based claim has expired, and, correspondingly,

damages for state law claims – such as lost opportunity cost – are unavailable.

       And, if the Debtor filed bankruptcy at a time when no promissory note existed or

when he denied he owed money, it might be reasonable to conclude there was no debt.

       But, here, the Debtor admits he owes the debt, at least as described in the Note.

The Debtor made material payments on his debt to the Partnership prior to and after the

execution of the Note, from 2014 through 2018. 180 The Debtor consistently testified he

owed almost $6 million to the Partnership on the Petition Date. When questioned about

what he had said in the February 2012 meeting with the Accountants and Helen, the

Debtor testified he, “confirmed [his] intention to repay the loan.”181                 As part of this

bankruptcy, the Debtor scheduled the Partnership as the holder of a non-contingent,

undisputed, unsecured claim based upon a default on a promissory note in Schedule E/F.

ECF No.1, p. 21. “A debtor’s scheduling of a debt constitutes a sworn statement and

admission against interest, which is strongly probative of the claim’s validity.” In re Live

Primary, LLC, 626 B.R. 171, 189 (Bankr.S.D.N.Y. 2021). It would be inconsistent to

conclude no debt exists when the uncontroverted evidence shows the Debtor intended to




180    POC 1-1, p. 9-10; AP-ECF No. 252, p. 52, L. 14-20, p. 55, L. 22-25, p. 56, L. 1-9.
181    AP-ECF No. 252, p. 48, L. 14-16.

                                                                                                     42
Case 18-03034    Doc 271     Filed 03/31/22   Entered 03/31/22 16:16:42      Page 43 of 53




repay the Partnership funds, executed a Note promising to repay the funds, and made

payments on the debt. The Debtor owes a debt to the Partnership.

      However, because the debt owed to the Partnership is not based upon a state law

claim for breach of fiduciary duty or fraud, the debt does not include damages for any lost

opportunity cost for investments as opined by Mr. Esposito.

            The Court Can Examine The Conduct Giving Rise to a Debt

      Guided by the Supreme Court’s decisions in Brown and Archer and their progeny,

I conclude Congress’s intent under § 523(a) was for courts to examine the conduct from

which the debt originally arose to ensure all debts arising from fraud are excepted from

discharge. See, In re Pierce, 563 B.R. at 707 (“bankruptcy courts must focus on the

conduct from which the debt at issue originally arose, even though the debt may

subsequently have taken on other documentary forms”). Here, the Note may be the

debt’s current form but, the circumstances giving rise to the debt are the events

surrounding the Debtor’s withdrawal of the House Money, the Car Wash Money, and the

other substantial withdrawals of cash from the Partnership during the period 2003 through

2011. The question now is whether the debt flowing from the Debtor’s conduct during

that time is non-dischargeable under §§ 523(a)(4) or (a)(6).

                          Lack of Evidence Regarding Intent

      To succeed on the § 523(a)(4) claims, the Partnership must prove it is more

probable than not the Debtor

          1) possessed a wrongful intent when he withdrew Partnership funds to
             constitute a defalcation or fraud; or

          2) possessed a fraudulent and wrongful intent when he withdrew Partnership
             funds for his conduct to constitute larceny; or



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Case 18-03034      Doc 271    Filed 03/31/22    Entered 03/31/22 16:16:42      Page 44 of 53




             3) developed a fraudulent intent after he withdrew Partnership funds for his
                conduct to constitute embezzlement.

Similarly, for the Partnership to prevail on its § 523(a)(6) claims, it must prove the Debtor

deliberately intended to injure the Partnership or his conduct was substantially certain to

injure the Partnership (i.e., the “willful element”) and his conduct was without just cause

or excuse (i.e., the “malicious element”).

                    Debtor is a Fiduciary for Purposes of § 523(a)(4)

       As a preliminary consideration for either fraud or defalcation pursuant to §

523(a)(4), the Partnership must prove the Debtor was a fiduciary. This requirement is

satisfied.    Both Delaware common law and the facts established at trial inform the

conclusion the Debtor was a fiduciary to the Partnership and its limited partners.

Delaware common law views the Debtor as a fiduciary with respect to the Partnership

and the limited partners because of his position as general partner. 182 Further, the

undisputed facts here demonstrate the Debtor served as, and benefitted from being, a

fiduciary. The Debtor was the Partnership’s managing partner for all relevant times and

was compensated with a sum of $8,000 a month for that responsibility and position

through approximately March of 2009 when he declined to be compensated.

       The Debtor argued he was not a fiduciary because he possessed no greater

knowledge or power as between himself and Helen and they were simply husband and

wife. 183 The Debtor’s argument is unpersuasive and misstates who the plaintiff is in this

action. The court is not tasked with determining if the Debtor was a fiduciary as between

himself as an individual, and, Helen, as his then-wife. Rather, the question is if the Debtor,



182    See, Dohmen v. Goodman, 234 A.3d 1161 (Del. 2020).
183    AP-ECF No. 265, p. 24-25.

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Case 18-03034     Doc 271       Filed 03/31/22      Entered 03/31/22 16:16:42   Page 45 of 53




acting as the managing general partner, stood in a fiduciary position in relation to the

Partnership and the other partners when engaging in the conduct giving rise to this action.

To this question, the answer is yes.

                            Defalcation Pursuant to § 523(a)(4)

      But, even if the Debtor was a fiduciary, the Partnership failed to satisfy its burden

of proving the Debtor committed defalcation. Defalcation requires a showing of knowing

misbehavior or gross recklessness. In re Snyder, 939 F.3d at 102; see also, Bullock, 569

U.S. at 274 (conduct that is “a gross deviation from the standard of conduct that a law-

abiding person would observe in the actor’s situation.”). Defalcation under § 523(a)(4)

does not equate to negligence. See, In re Deutsch, 575 B.R. 590, 601 (Bankr. S.D.N.Y.

2017)(“Mere negligence, without some element of intentional wrongdoing, breach of

fiduciary duty or other identifiable misconduct, does not constitute a ‘defalcation’ within

the meaning of section 523(a)(4).”). Here, on multiple occasions, the Debtor testified he

believed the Partnership Agreement permitted loans and that he intended to repay the

money borrowed. 184 The Partnership Agreement contained very few limits on a managing

member’s authority; provided the managing member with the authority to “make loans to

Partners” and exculpated a partner from any loss if the act was done “in good faith to

promote the Partnership’s best interests.” 185          Nothing in the Partnership Agreement

provided clarity regarding under what conditions loans could be made to partners or what

terms or documentation was required for loans. There was no specific provision requiring

security be held by the Partnership if a loan to a partner was made. In comparison, the




184   AP-ECF No. 249, p. 75, L. 19-25, p. 58, L. 1-8, p. 111, L. 13-15.
185   AP-ECF No. 214-3, §§ 8.1(18), 15.4.

                                                                                         45
Case 18-03034       Doc 271       Filed 03/31/22       Entered 03/31/22 16:16:42             Page 46 of 53




Partnership Agreement did place limits on the distributions – as compared to loans –

made to partners. 186

       The Debtor further testified he borrowed the funds to provide a better home for his

family; start businesses for his children; send his children to specialized schools; and

sustain his law firm. He believed these goals fell within the scope of the Partnership’s

purpose of providing for Helen’s parents’ heirs. 187

       The accountant Kevin Sunkel’s testimony and the accountant Don Scherer’s

handwritten notes combined with Schedule L of the 2006 and 2007 Partnership tax

returns provide sparse, but contemporaneous, evidence of reporting to the Internal

Revenue Service that the funds the Debtor withdrew were an account receivable of the

Partnership. 188

       The Partnership failed to contradict this evidence. Instead, the Partnership argues

the court should discount the Debtor’s testimony as self-serving and should rely on the

absence of evidence – the absence of any promissory notes at the time of the withdrawals

and the absence of any written intent to repay – to establish intent. But the Partnership’s

burden is to show evidence that it is more probable than not that the defendant had a

wrongful intent. The absence of evidence like promissory notes or a writing is insufficient.

       The Partnership additionally argues the court should credit Mr. Esposito’s expert

testimony that the Debtor’s taking of funds failed to comport with § 4.6 of the Partnership

Agreement. But the failure to comport with the Partnership Agreement is insufficient for

§ 523(a)(4). Mr. Esposito’s opinion falls short of opining that the Debtor’s conduct was a



186    AP-ECF No. 214-3, §1.9.
187    AP-ECF No. 252, p. 7, L. 7-15, p. 74, L. 9-10, p. 89, L. 5-25, p. 90, L. 1-2, p. 108, L. 8-10.
188    AP-ECF No. 249, p. 153, L. 1-18; AP-ECF Nos. 215-29, 215-30.

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Case 18-03034      Doc 271   Filed 03/31/22   Entered 03/31/22 16:16:42      Page 47 of 53




gross deviation.    I note his opinion was limited to one section of the Partnership

Agreement, rather than its provisions as a whole. Due to these deficiencies, I find his

opinion of little value in determining whether a defalcation occurred.

       I am unpersuaded the evidence establishes the Debtor’s conduct rose to the level

described by the Supreme Court in Bullock as a “gross deviation from the standard of

conduct.” For the absence of doubt, I am not condoning or endorsing the Debtor’s

conduct, but I am concluding the evidence presented does not support the conclusion the

Debtor engaged in conduct meeting the definition of defalcation under § 523(a)(4). This

case does not present a story – which unfortunately this court has seen in other cases –

of a fiduciary engaging in a fraudulent scheme to siphon money out of a trust, partnership,

or business with the sole intent of personal gain, concealment of the withdrawals, and

with a conscious disregard to those who might be injured by their actions. For example,

there is no indication the funds were withdrawn to purchase private yachts or vacation

homes, to feed a gambling addiction, or to otherwise self-serve the Debtor’s interests.

Rather, the testimony was the funds were used with the intent to maintain the ten-person

family’s needs and standard of living. Helen – a general partner in the Partnership –

admitted she knew of (and approved of) the House Money withdrawal and the Car Wash

Money withdrawal.     And, while the Debtor’s testimony was self-serving, it was also

uncontroverted. Based upon this record lacking evidence of a wrongful or fraudulent

intent, I cannot conclude the evidence demonstrates the Debtor acted with such gross

negligence or reckless disregard that the Partnership’s debt be deemed non-

dischargeable pursuant to § 523(a)(4).




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Case 18-03034     Doc 271     Filed 03/31/22   Entered 03/31/22 16:16:42    Page 48 of 53




                                     Fiduciary Fraud

       If the Debtor – as a fiduciary – engaged in fraud, the resulting debt could be non-

dischargeable pursuant to § 523(a)(4). In its post-trial memorandum, the Partnership

briefly addresses the fraud aspect of § 523(a)(4), arguing the Debtor engaged in fraud by

misrepresenting the Fox Run sale proceeds would be used to repay the House Money,

and the Partnership detrimentally relied on this statement. 189 This is not enough. There

is no evidence supporting the conclusion the Debtor possessed an intent to engage in a

scheme to defraud the Partnership at the time of borrowing money from the Partnership.

There is no evidence the Partnership detrimentally relied upon or changed its conduct

based upon this alleged misrepresentation.         At best, the Partnership’s evidence

suggesting the Debtor engaged in a fraud matches the evidence the Debtor did not

engage in fraud. As in baseball, a tie goes to the runner. Here, the Partnership bears

the burden to establish its case by a preponderance of the evidence and did not meet it

as to the § 523(a)(4) fraud claim.

                             Larceny Under Section 523(a)(4)

       To constitute larceny pursuant to § 523(a)(4), the Partnership must prove by a

preponderance of the evidence that: 1) the Debtor’s withdrawal of Partnership funds was

wrongful, and 2) he possessed an unlawful intent at the time of the withdrawals. Again,

the evidence supporting such a conclusion is lacking.       The Partnership Agreement

granted authority to make loans to partners. 190 Absent from the Partnership Agreement

are any restrictions or required terms for loans made to partners.




189    AP-ECF No. 264, p. 25.
190    AP-ECF No. 214-3, §8.1(18).

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Case 18-03034        Doc 271      Filed 03/31/22   Entered 03/31/22 16:16:42   Page 49 of 53




          Additionally, the Debtor testified his intent at the time of the withdrawals was to

repay the funds. See, AP-ECF No. 249, p. 75, L. 19-25, p. 58, L. 1-8, p. 111, L. 13-15;

See also, AP-ECF No. 252, p. 120, L. 12-20 (Debtor credibly testified he believed the

Stratford car wash’s projected net income would enable him to repay the funds taken to

finance its purchase within six years.). While the Partnership claims this testimony is self-

serving, the testimony of two other witnesses – the Partnership’s Accountant and Helen

– corroborate the Debtor’s testimony about his intent at the time of the withdrawals,

including:

      •   Partnership’s Accountant testified the Debtor told him in 2004 the Partnership

          funds withdrawn for the Abbey Road purchase were a loan to be repaid; 191 and

      •   Helen testified she understood and was told the funds withdrawn to finance the

          Abbey Road property purchase were to be considered a bridge loan. 192

The Partnership discounts this testimony because all the information comes from a single

source – the Debtor.          See, ECF No. 267, p. 4 (“So, essentially, [the Partnership’s

Accountant’s] testimony merely repeats the lie that [the Debtor] told him. Again – no

corroborating evidence.”). However, the Partnership’s argument ignores the fact it bears

the burden of proof. The Debtor does not need to prove his intention was lawful. Rather,

the Partnership must prove his intention was wrongful. The Partnership failed to present

alternative evidence discrediting the Debtor’s stated intent. Accordingly, the record falls

short of showing the Debtor possessed a wrongful intent necessary for larceny pursuant

to § 523(a)(4).




191       AP-ECF No. 249, p. 164, L. 11-22.
192       AP-ECF No. 250, p. 67, L. 13-17.

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Case 18-03034        Doc 271      Filed 03/31/22       Entered 03/31/22 16:16:42           Page 50 of 53




                Evidence of Intent Required for Embezzlement is Lacking

        The Partnership must establish three elements for embezzlement, including: 1)

that the Debtor rightfully possessed the Partnership’s property; 2) the Debtor appropriated

the Partnership’s property for use other than the use for which the property was entrusted;

and 3) the circumstances implied a fraudulent intent. In re Daffner, 612 B.R. at 651. The

first element is satisfied because the Partnership Agreement granted authority to the

Debtor as the managing partner to make loans to partners. However, the second and

third elements are not satisfied. Again, the problem is the intent. Even if arguably the

Debtor possessed the Partnership funds rightfully, and later, decided not to repay them,

the evidence does not support a finding that the Debtor’s intent was fraudulent. First, the

Debtor’s testimony was he believed he could use the funds to support his children and

invest in businesses for their future. 193          Second, the Debtor repeatedly testified he

intended to repay the money. 194 The Partnership provided no evidence to counter this

stated intention. Rather, the Partnership asks the court to discount the majority of the

testimony from the Debtor, Helen, and the Partnership’s Accountant, and believe that the

Debtor masterminded an elaborate scheme to siphon money out of the Partnership over

a series of years for his own personal gain. This is unpersuasive. The Partnership’s

arguments in its post-trial brief are conclusory and unsupported by the record at trial.

See, AP-ECF No. 264, p. 26 (“Moreover, he committed embezzlement by appropriating

these moneys for his own benefit, in a fraudulent and deceitful fashion”). Like with

defalcation and larceny, the Partnership failed to present evidence showing it was more



193     See, AP-ECF No. 252, p. 7, L. 7-15, p. 74, L. 9-10, p. 89, L. 5-25, p. 90, L. 1-2, p. 108, L. 8-10.
194     See, AP-ECF No. 249, p. 75, L. 19-25, p. 58, L. 1-8, p. 111, L. 13-15; see also, AP-ECF No. 252,
p. 120, L. 12-20.

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Case 18-03034     Doc 271    Filed 03/31/22    Entered 03/31/22 16:16:42      Page 51 of 53




likely than not that the Debtor possessed the fraudulent intent necessary for a finding of

embezzlement.

       The Partnership Fails to Prove Debtor Acted Willfully and Maliciously

       The Partnership contends the Debtor willfully and maliciously caused injury to it

and the resulting debt should be non-dischargeable pursuant to § 523(a)(6). This is at

most a generous reading of the Partnership’s post-trial briefing. Arguably, the court could

have found the Partnership waived its claim under § 523(a)(6) by failing to properly

address it in its post-trial briefs. In fact, the Partnership only references § 523(a)(6), or

its elements – willful and malicious – in one sentence: “Dilworth’s actions were willful and

malicious in causing significant financial injury to the Partnership, providing additional

grounds for non-dischargeability under 11 U.S.C. §523(a)(6).” See, AP-ECF Nos. 264,

p. 2; see also, AP-ECF No. 267 (§ 523(a)(6) claim not addressed).

       First, the record is bereft of evidence supporting a conclusion the Debtor

deliberately or intentionally caused injury to the Partnership. At most, the evidence shows

the Debtor repeatedly withdrew funds from the Partnership without documenting the

basis, term, or purpose of the withdrawals, made bad investments, and was never able

to dig himself out of the financial hole he created. Was this an example of poor business

and investment practices? Certainly. Was this negligence? Most likely. Was this

conduct reckless? Possibly. But none of that amounts to willfulness for purposes of §

523(a)(6). See, In re Margulies, 541 B.R. at 161–62 (“the plaintiff must demonstrate that

the debtor deliberately intended to injure the plaintiff”); In re Mitchell, 227 B.R. at 51

(Willfulness “includes conduct that the actor is substantially certain will cause injury.”).




                                                                                          51
Case 18-03034     Doc 271    Filed 03/31/22    Entered 03/31/22 16:16:42       Page 52 of 53




The Partnership bore the burden to show the Debtor acted willfully but failed to carry that

burden.

       Even if the Partnership could satisfy the willful element of § 523(a)(6), the malicious

element is lacking. Malicious for purposes of § 523(a)(6) includes conduct: “wrongful and

without just cause or excuse” or “from which one could only conclude that the debtor’s

motivation must have been to inflict harm upon the creditor.” See, Ball, 451 F.3d at 69;

Luppino, 221 B.R. at 700. None of the witnesses at trial testified the Debtor’s intent was

to inflict harm or purposely cause the Partnership to lose money. Rather, as repeatedly

stated, the evidence suggests the Debtor intended to borrow money from the Partnership

to benefit his family and intended to repay the funds. There is insufficient evidence

contradicting this testimony. Accordingly, the Partnership’s § 523(a)(6) claim fails.

VII.   CONCLUSION

       After careful consideration of the evidence, the record of the bankruptcy case, this

instant adversary proceeding, and the parties’ arguments, the Partnership did not meet

its burden of proof and did not establish by a preponderance of the evidence that the

Debtor had the wrongful intent pursuant to §§ 523(a)(4) or (a)(6) to conclude the debt to

the Partnership should be non-dischargeable. What appears to be terrible decision

making by the Debtor – including poor judgment, a failure to confront the true costs to

maintain his large family, and a lack of forthright transparency with himself and other

partners – is not enough to render a debt to the Partnership non-dischargeable. I have

considered all other arguments by the Partnership and find them unpersuasive or

unsupported by the record. Because I conclude the Partnership failed to prove its prima

facie case, I need not reach any of the Debtor’s special defenses. Therefore, a separate



                                                                                           52
Case 18-03034     Doc 271    Filed 03/31/22   Entered 03/31/22 16:16:42    Page 53 of 53




judgment in this adversary proceeding in favor of the defendant, Michael P. Dilworth, the

debtor in the underlying Chapter 7 case, shall enter.

      This decision does not address the United States Trustee’s motion to dismiss the

Chapter 7 case. A separate scheduling order regarding that motion will enter in the

Chapter 7 case.

      This is a final order subject to rights of appeal. The time within which a party

may file an appeal of a final order of the bankruptcy court is fourteen (14) days after

it is entered on the docket. See, Fed.R.Bankr.P. 8002(a)(1).

                  Dated this 31st day of March, 2022, at New Haven, Connecticut.




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